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            UNITED STATES DISTRICT COURT                  1          APPEARANCES:
           FOR THE NORTHERN DISTRICT OF OHIO              2
              EASTERN DIVISION                            3      ROBBINS GELLER RUDMAN & DOWD LLP
                                                                 BY: MATTHEW S MELAMED, ESQUIRE
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         IN RE: NATIONAL      )                                     DORY P ANTULLIS, ESQUIRE
         PRESCRIPTION        ) MDL No. 2804               5         dantullis@rgrdlaw com
         OPIATE LITIGATION )                                     1 Montgomery Street, Suite 1800
         _____________________ ) Case No.                 6      San Francisco, California 94104
                     ) 1:17-MD-2804                              (415) 393-1500
                                                          7      Counsel for Plaintiffs
                     )                                    8
         THIS DOCUMENT RELATES ) Hon. Dan A.              9      WILLIAMS & CONNOLLY LLP
         TO ALL CASES        ) Polster                           BY: ANDREW C MCBRIDE, ESQUIRE
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             FRIDAY, OCTOBER 26, 2018                               725 Twelfth Street, N W
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          HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER       12      Counsel for Cardinal Health, Inc
                 CONFIDENTIALITY REVIEW                  13
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                Videotaped deposition of Stephan                 BY: SAMANTHA L ROCCHINO, ESQUIRE
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         before Carrie A. Campbell, Registered                   Counsel for AmerisourceBergen
         Diplomate Reporter and Certified Realtime       18
         Reporter.                                       19
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                                                         25


                                                Page 3                                               Page 4
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     6                                                          Actavis Pharma, Inc , f/k/a Watson
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    20   (202) 942-5000                                       VIDEOGRAPHER:
         Counsel for Endo Pharmaceuticals                22      HENRY MARTE,
    21   Inc , and Endo Health Solutions Inc                     Golkow Litigation Services
    22                                                   23
    23                                                                   –––
    24                                                   24
    25                                                   25



                                                                                      1 (Pages 1 to 4)
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     1                INDEX                                           1   Allergan SEC Form 10-K for Watson         36
     2                              PAGE                                  Kaufhold 5 Pharmaceuticals, Inc , for
     3   APPEARANCES.................................. 2              2           the fiscal year ended
                                                                                  December 31, 2001
     4   EXAMINATIONS                                                 3
     5    BY MR. MELAMED............................. 10                  Allergan SEC Form 10-K for the fiscal 45
     6    BY MS. LEVY................................ 159             4   Kaufhold 6 year ended December 31,
     7                                                                            2005, for Watson
     8               EXHIBITS                                         5           Pharmaceuticals, Inc
     9     No.      Description              Page                     6   Allergan SEC Form 10-K for Actavis,    54
    10   Allergan Second Amended Notice of          14                    Kaufhold 7 Inc , for the fiscal year
         Kaufhold 1 Deposition Pursuant to Rule                       7           ended December 31, 2012
                                                                      8   Allergan Organizational/merger chart 57
    11            30(b)(6) and Document                                   Kaufhold 8 of Actavis Group, et cetera
                  Request Pursuant to Rule                            9
    12            30(b)(6) and Rule 34 to                                 Allergan Letter from the Department      58
                  Defendants Allergan PLC                            10   Kaufhold 9 of Health and Human Services
    13            f/k/a Actavis PLC; Allergan                                     dated February 6, 2004, to
                  Finance LLC, f/k/a Actavis,                        11           Amide Pharmaceutical
    14            Inc., f/k/a Watson                                 12   Allergan Allergan PLC and its         60
                                                                          Kaufhold 10 subsidiaries at August 2,
                  Pharmaceuticals, Inc.;                             13           2016 "Legacy Watson, Warner
    15            Watson Laboratories, Inc.;                                      Chilcott US, Durata,"
                  Actavis LLC; Actavis Pharma,                       14           ALLERGAN_MDL_03674502 -
    16            Inc. F/k/a Watson                                               ALLERGAN_MDL_03674506
                  Laboratories, Inc.; Actavis                        15
    17            LLC; Actavis Pharma, Inc.                               Allergan Form 10-K for Actavis PLC       74
                  F/k/a Watson Pharma, Inc ;                         16   Kaufhold 11 for the year ended 2013
    18            Allergan Pharmaceuticals,                          17   Allergan Fiscal year 2014 Form 10-K      88
                                                                          Kaufhold 12 for Actavis PLC
                  Inc.; and Allergan Health                          18
    19            Solutions, Inc.                                         Allergan 2015 Form 10-K for Allergan 92
    20   Allergan October 5, 2018 Robbins         16                 19   Kaufhold 13 PLC
         Kaufhold 2 Geller letter to Special                         20   Allergan Form 10-K for the fiscal     105
    21            Master Cohen                                            Kaufhold 14 year ended 2017 for Allergan
    22   Allergan     Documents brought by the     20                21           PLC
         Kaufhold 3 witness to the deposition                        22   Allergan Article from Fortune        111
    23                                                                    Kaufhold 15 magazine dated May 21, 2013,
                                                                     23           titled "Actavis, the latest
         Allergan    Exhibit 10.66 Execution           27                         Fortune 500 Company to
    24   Kaufhold 4 Version, Settlement                              24           'leave' the US for tax
                  Agreement and Mutual                                            reasons"
    25            Releases                                           25


                                                            Page 7                                                       Page 8
     1     Allergan Website printout of the        117                1                VIDEOGRAPHER: We are now on
           Kaufhold 16 current executive leadership                   2           the record.
     2             of Allergan PLC                                    3                My name is Henry Marte. I'm a
     3     Allergan E-mail(s),                 144
           Kaufhold 17 ALLERGAN_MDL_01335569 -                        4           videographer with Golkow Litigation
     4             ALLERGAN_MDL_01335570                              5           Services.
     5     Allergan E-mail(s),                 146                    6                Today's date is October 26,
           Kaufhold 18 ALLERGAN_MDL_01334578 -                        7           2018, and the time is 12:03 p m.
     6             ALLERGAN_MDL_01334579
     7     Allergan E-mail(s),                 148                    8                This videotaped deposition is
           Kaufhold 19 ALLERGAN_MDL_01334588 -                        9           being held at 250 Hudson Street,
     8             ALLERGAN_MDL_01334589                             10           New York, New York, in the matter of
     9     Allergan E-mail(s),                 150                   11           prescription opiate litigation.
           Kaufhold 20 ALLERGAN_MDL_01489486 -
    10             ALLERGAN_MDL_01489488                             12                The deponent today is Stephan
    11     Allergan E-mail(s),                 153                   13           Kaufhold.
           Kaufhold 21 ALLERGAN_MDL_02024980 -                       14                Everybody please introduce
    12             ALLERGAN_MDL_02024982                             15           themselves for the record.
    13      (Exhibits attached to the deposition.)
    14                                                               16                MR. MELAMED: Matthew Melamed,
    15                                                               17           Robbins Geller Rudman & Dowd, for the
    16                                                               18           plaintiffs.
    17
    18
                                                                     19                MS. ANTULLIS: Dory Antullis,
    19                                                               20           Robbins Geller Rudman & Dowd, for the
    20                                                               21           plaintiffs.
    21                                                               22                MR. CARTER: Ed Carter, Jones
    22
    23
                                                                     23           Day, for Walmart.
    24                                                               24                MS. PERSIO: Joanna Persio,
    25                                                               25           Arnold & Porter, for the Endo


                                                                                                  2 (Pages 5 to 8)
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                                                    Page 9                                          Page 10
     1        defendants and the Par defendants.              1      behalf of HBC Services.
     2            MR. RICARD: Paul Ricard,                    2          MS. ROCCHINO: Samantha
     3        Prescription Supply, Inc.                       3      Rocchino on behalf of
     4            MR. MCBRIDE: Andrew McBride,                4      AmerisourceBergen Drug Corporation.
     5        Williams & Connolly, for Cardinal.              5          VIDEOGRAPHER: Okay. Will the
     6            MR. JACOBS: Evan Jacobs,                    6      court reporter please administer the
     7        Morgan Lewis, for Teva                          7      oath to the witness?
     8        Pharmaceuticals, USA, Cephalon, Inc.,           8
     9        Actavis Pharma, Inc., Actavis, LLC,             9             STEPHAN KAUFHOLD,
    10        and Watson Laboratories, Inc.                  10   of lawful age, having been first duly sworn
    11            MR. LEFEVOUR: Michael LeFevour             11   to tell the truth, the whole truth and
    12        from Kirkland & Ellis on behalf of the         12   nothing but the truth, deposes and says on
    13        Allergan.                                      13   behalf of the Plaintiffs, as follows:
    14            MS. LEVY: Jennifer Levy from               14
    15        Kirkland and Ellis on behalf of the            15            DIRECT EXAMINATION
    16        Allergan defendants.                           16   QUESTIONS BY MR. MELAMED:
    17            THE WITNESS: Steve Kaufhold                17       Q. Good afternoon.
    18        with Allergan.                                 18       A. Good afternoon.
    19            VIDEOGRAPHER: Okay. And the                19       Q. My name is Matt Melamed. I'm
    20        people on the phone, please?                   20   from Robbins Geller, and I represent the
    21            MR. PALMER: Andrew Palmer on               21   plaintiffs in this matter.
    22        behalf of McKesson.                            22            Can you state your full name,
    23            MR. MAEROWITZ: Max Maerowitz               23   your home address and your work address for
    24        on behalf of Mallinckrodt, LLC.                24   the record, please?
    25            MS. NOWAK: Darlene Nowak on                25       A. Absolutely.

                                               Page 11                                              Page 12
     1            My name's Stephan Kaufhold.                 1       A. I am.
     2    I'm senior vice president, treasurer of             2       Q. You understand that you've been
     3    Allergan.                                           3   designated by a corporation to speak on
     4                                                        4   behalf of that corporation in your testimony
     5                                                        5   today, correct?
     6                                                        6       A. That is correct.
     7                                                        7       Q. What is the name of the entity
     8        Q. My job today is to ask clear                 8   that designated you to testify on its behalf?
     9    questions. If the question I ask is unclear,        9       A. It would be Allergan PLC.
    10    please let me know.                                10       Q. And you are currently an
    11        A. Sure.                                       11   employee of Allergan PLC; is that correct?
    12        Q. Please answer audibly, as you               12       A. That is not correct.
    13    are doing. Please avoid shaking your head or       13       Q. Who are you currently employed
    14    nodding for a no or yes respectively.              14   by?
    15            Okay?                                      15       A. I'm employed by Allergan Sales,
    16        A. Understood.                                 16   LLC.
    17        Q. And similarly, please answer                17       Q. What is Allergan Sales, LLC's,
    18    with easily transcribable words such as yes        18   relationship to Allergan PLC?
    19    or no and not uh-huh or huh-uh.                    19       A. It is an indirect subsidiary.
    20            Okay?                                      20       Q. Can you please tell me your
    21        A. Yes.                                        21   educational and employment history from --
    22        Q. Have you been deposed before?               22   starting from college and going through to
    23        A. I have.                                     23   present?
    24        Q. So you're generally familiar                24       A. Absolutely.
    25    with the process?                                  25            Undergraduate degree from


                                                                              3 (Pages 9 to 12)
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                                            Page 13                                              Page 14
     1    Loyola College, which is now Loyola              1            I left in 2004 to be the
     2    University, in Baltimore, Maryland; business     2   treasurer of Virgin Mobile USA, which was a
     3    administration, BA, concentration economics,     3   prepaid wireless carrier. I was there for
     4    finance.                                         4   five and a half years.
     5             I also have a BS in accounting          5            Left in March of 2010 and
     6    from St. Peters College.                         6   joined Watson Pharmaceuticals in April of
     7             Graduate degree, MBA, in                7   2010.
     8    corporate finance from Fairleigh Dickinson,      8       Q. Watson Pharmaceuticals, Inc.?
     9    and I've done some postgraduate work at          9       A. Watson Pharmaceuticals. I'm
    10    Columbia University.                            10   not sure exactly who my employer was of which
    11             From an employment perspective,        11   of the subsidiaries, but it was Watson
    12    since graduating college, if you want to go     12   Pharmaceuticals, a US generic company.
    13    that far back, first job was with Security      13            And I've been the treasurer
    14    Pacific Finance Corp., which was consumer       14   through the -- the transition of the business
    15    lending.                                        15   to where it is today.
    16             I then worked for Chase                16            (Allergan-Kaufhold Exhibit 1
    17    Manhattan Leasing as a credit analyst. That     17       marked for identification.)
    18    was then -- that operation was bought by AT&T   18   QUESTIONS BY MR. MELAMED:
    19    Credit Corporation financing telephone sets.    19       Q. I'm going to hand you what's
    20             We were then sold to Nomura            20   been marked Exhibit Number 1.
    21    Securities PLC, followed by a sale to           21            Exhibit Number 1 is titled "The
    22    Newcourt Credit.                                22   Second Amended Notice of Deposition Pursuant
    23             We were then bought by CIT.            23   to Rule 30(b)(6) and Document Request
    24             CIT was sold to Tyco; we went          24   Pursuant to Rule 30 B(2) and Rule 34 to
    25    public again.                                   25   Defendants Allergan PLC, formerly known as


                                            Page 15                                              Page 16
     1    Actavis PLC; Allergan Finance, LLC, formerly     1        Q. Are you prepared to testify on
     2    known as Actavis, Incorporated, formerly         2    those topics today?
     3    known as Watson Pharmaceuticals,                 3             MS. LEVY: Objection. As you
     4    Incorporated; Watson Laboratories,               4        well know, he is prepared to testify
     5    Incorporated; Actavis LLC; Actavis Pharma,       5        on three specific subtopics of that
     6    Inc., formerly known as Watson Pharma, Inc.;     6        topic that we subsequently negotiated
     7    Allergan Pharmaceuticals, Inc.; and Allergan     7        after the fact.
     8    Health Solutions, Inc."                          8    QUESTIONS BY MR. MELAMED:
     9             Have you seen this document             9        Q. Are you prepared to testify
    10    before?                                         10    about the topics in number 43 today?
    11        A. I have seen this document.               11        A. I am not.
    12        Q. Okay. And you recognize that             12             (Allergan-Kaufhold Exhibit 2
    13    on page 1 of the document you have been         13        marked for identification.)
    14    designated to testify on Topic 43 of the        14    QUESTIONS BY MR. MELAMED:
    15    30(b)(6) topics, correct?                       15        Q. I'm going to hand you what's
    16        A. That is correct.                         16    been marked Exhibit Number 2.
    17        Q. And if you turn to page 16 in            17             Exhibit Number 2 is an
    18    the document, you see that Topic 43 states,     18    October 5th letter from Aelish Baig to
    19    "To the extent not encompassed within the       19    Special Master Cohen.
    20    other topics, your marketing, promotion,        20             And if you -- I would like you
    21    sales, distribution, diversion and suspicious   21    to just turn to page 3 of this letter.
    22    order monitoring compliance,                    22             Do you see the three bullet
    23    pharmacovigilance concerning your generic       23    points and the paragraph preceding those
    24    opioid products."                               24    three bullet points?
    25        A. I see that, yes.                         25        A. Yes.


                                                                          4 (Pages 13 to 16)
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                                            Page 17                                             Page 18
     1         Q. Those three bullet points                1    in the neighborhood of 25 or so.
     2    define a scope of the -- what's referred to      2        Q. Did those documents refresh
     3    as the first Allergan 30(b)(6) deposition.       3    your recollection as to the items you're --
     4             Do you see that?                        4    the subject of your testimony today?
     5         A. Yes.                                     5        A. Yes.
     6         Q. Are you prepared to testify              6        Q. Are those the documents that
     7    about those subjects today?                      7    you brought with you, that your counsel
     8         A. I am.                                    8    handed me before the deposition started
     9         Q. You can put that aside.                  9    today?
    10         A. Okay.                                   10        A. That is correct.
    11         Q. What did you do to prepare to           11        Q. And is that the sum total of
    12    testify on those topics today?                  12    the documents that you reviewed in
    13         A. Sure.                                   13    preparation for today's deposition?
    14             Working with counsel and at my         14        A. I've also reviewed other
    15    direction we went through corporation files.    15    documents such as -- which was public
    16    I also went through what I had in regard to     16    information, such as 10-Ks, 10-Qs and the
    17    corporate structures and also have had          17    master purchase agreement that Teva and
    18    conversations with folks internally,            18    Allergan PLC signed on the sale of the
    19    specifically within the tax group, who          19    generic business.
    20    manages the corporate structure.                20        Q. Any documents that were not
    21         Q. Did you review any documents in         21    publicly available, other than those --
    22    preparation for today?                          22        A. No.
    23         A. I have, yes.                            23        Q. -- that you brought with you
    24         Q. Approximately how many?                 24    today?
    25         A. I would say probably about --           25             Who prepared the documents that

                                            Page 19                                             Page 20
     1    you brought with you today?                      1      Q.     Fair enough.
     2        A. It's counsel at my direction.             2            So approximately 25 documents?
     3    I've also provided them some of the documents    3       A. Documents.
     4    as well, too.                                    4       Q. Reflecting about how many
     5             MR. MELAMED: I'll represent to          5   pages, would you estimate?
     6        counsel that I haven't taken anything        6       A. It would -- I would think it
     7        out or put anything into this folder.        7   would have to be somewhere between 6 and 750
     8    QUESTIONS BY MR. MELAMED:                        8   pages, considering the purchase agreement is
     9        Q. But this -- the folder that I'm           9   fairly numerous. When you look at our 10-Ks,
    10    holding right now appears to be the             10   our 10-Ks are probably about 200 pages.
    11    documents.                                      11       Q. I'm just talking about the
    12        A. That is correct.                         12   doc -- I'm sorry. To be clear, I'm just
    13        Q. Not -- I'll let you flip                 13   talking about the documents that are in the
    14    through that, if you want, before you answer.   14   folder that was handed to me before the
    15             MS. LEVY: We can stipulate             15   deposition started.
    16        that it's the right set.                    16            MS. LEVY: You're asking him to
    17             MR. MELAMED: Okay.                     17       guess how many pages --
    18             So I'll just mention for the           18            MR. MELAMED: Just an estimate.
    19        record it appears to be more than 25        19            THE WITNESS: It looks like it
    20        pages.                                      20       could be somewhere between 200 and
    21    QUESTIONS BY MR. MELAMED:                       21       250.
    22        Q. I don't know if you mentioned            22            (Allergan-Kaufhold Exhibit 3
    23    25 documents or 25 pages earlier.               23       marked for identification.)
    24        A. The question, I believe, how             24   QUESTIONS BY MR. MELAMED:
    25    many documents, not pages.                      25       Q. Okay. I'm going to mark these


                                                                          5 (Pages 17 to 20)
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     1    as Exhibit 3. It's just the folder. I'm          1   had a chance to look through those and ask
     2    going to have all of these collectively put      2   Special Master Cohen and, if necessary, Judge
     3    in as an exhibit. During a break I'll have       3   Polster for the right to do so because of
     4    them copied so I can have a copy of them.        4   these late-produced documents.
     5             MS. LEVY: We have copies, if            5            Did you talk to anybody at
     6        you need copies.                             6   Allergan or any Allergan-related entity in
     7             MR. MELAMED: Fantastic. I               7   preparation for your testimony today?
     8        would like a copy, please.                   8       A. I have spoken to some people
     9    QUESTIONS BY MR. MELAMED:                        9   within the company, yes.
    10        Q. As I expressed in letters to             10       Q. Who have you spoken to?
    11    Ms. Levy prior to the deposition, it's          11       A. Members of our tax group.
    12    unclear to me why this information couldn't     12       Q. Which members of your tax
    13    have been provided before, particularly given   13   group?
    14    the limitations on time established by the      14       A. Marty Shindler, Carina
    15    special master for 30(b)(6) testimony in this   15   Sinclair.
    16    action.                                         16       Q. Why did you speak to members of
    17             I am not going to have -- I'm          17   the tax group?
    18    going to tell you right now that there's not    18       A. Carina is the one who tracks
    19    a chance that I'm going to have the time to     19   and maintains the corporate structure slides
    20    review these documents, understand what's in    20   that we've provided, and in regard to the
    21    them. We may touch on certain of the subject    21   ANDAs and the transfers of IP, I spoke to
    22    matters, but I'm not going to be able to do     22   Marty Shindler as well.
    23    that today during the deposition.               23       Q. Is Marty Shindler also in the
    24             And as a result, I'm going to          24   tax group?
    25    reserve our right to call you back after I've   25       A. Yes, he is.

                                            Page 23                                              Page 24
     1        Q. And what tax -- what entity's             1   last month?
     2    tax group do these people work for?              2       A. It was over the last -- I would
     3             What is the name of the                 3   say over the last week.
     4    corporation they work for?                       4       Q. Did you speak with anybody
     5        A. They work for Allergan Sales,             5   aside from colleagues at Allergan entities
     6    LLC.                                             6   and outside counsel in preparation for
     7        Q. Does Allergan PLC maintain its            7   today's deposition?
     8    own tax group separate and distinct from         8       A. I have not.
     9    Allergan Sales, LLC?                             9       Q. Did you speak to anybody at
    10        A. Does not.                                10   Teva Pharmaceuticals in preparation for
    11        Q. And you mentioned you spoke to           11   today's deposition?
    12    outside counsel in preparation for today's      12       A. I have not.
    13    deposition, correct?                            13       Q. You're aware that some of the
    14        A. That's correct.                          14   subject matter covered by today's deposition
    15        Q. About how many times did you             15   concerns generic opioids that were sold by
    16    speak with outside -- let -- let me withdraw    16   Allergan PLC to Teva, correct?
    17    that.                                           17       A. Could you rephrase that,
    18             About how many hours total did         18   please?
    19    you speak with outside counsel in preparation   19       Q. One of the subjects we're going
    20    for the deposition?                             20   to talk about today is generic opioids,
    21        A. Probably somewhere between 15            21   correct?
    22    and 20 hours.                                   22       A. That is correct.
    23        Q. Over what period of time did             23       Q. And the generic opioids were
    24    those 15 to 20 hours occur? For example, was    24   sold by Allergan PLC, correct?
    25    that during the last week? Was it over the      25       A. Allergan PLC was the party to


                                                                         6 (Pages 21 to 24)
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                                            Page 25                                              Page 26
     1    the sale agreement.                              1   matter of that?
     2        Q. And the party to which the                2        A. In January of 2018, as -- what
     3    generic opioids were transferred under that      3   is typical for any type of M&A, especially of
     4    sale agreement was a Teva-related entity,        4   this size, there is a true-up in regard to
     5    correct?                                         5   the accounts and a working capital adjustment
     6        A. It was sold to a Teva-related             6   is made. Either the buyer has to make a
     7    entity, yes.                                     7   payment to the seller or the seller has to
     8        Q. And that was completed in 2016,           8   make a payment to the buyer -- or to --
     9    right?                                           9   seller to the buyer or the buyer to the
    10        A. It closed in August of 2016.             10   seller after we go through the accounts and
    11        Q. And Teva and Allergan PLC                11   true-up all the accounts.
    12    executed an agreement earlier this year         12            So there was an agreement, and
    13    concerning defense of claims asserted in this   13   then there was also consideration paid,
    14    and similar cases, correct?                     14   approximately $700 million, to settle the
    15        A. That is not correct.                     15   working capital.
    16        Q. Okay. What -- are you aware of           16        Q. Was there an indemnification
    17    an agreement executed this year between Teva    17   agreement signed between Teva and Allergan
    18    and Allergan PLC concerning the cases in the    18   PLC?
    19    MDL and other like -- similar cases?            19        A. There were indemnification
    20        A. That is not -- that is not               20   provisions within the purchase agreement.
    21    correct.                                        21        Q. Are you aware of an
    22        Q. Are you aware of any agreements          22   indemnification agreement signed in 2018
    23    signed this year between Teva and --            23   between Teva and Allergan?
    24        A. I am.                                    24        A. Not separate from what the --
    25        Q. Okay. What was the subject               25   of the agreement that I described, other than

                                            Page 27                                              Page 28
     1    that agreement restated those indemnification    1        Q. Are you aware that this case
     2    provisions that were part of the August          2   concerns one of the -- a scenario that would
     3    close.                                           3   trigger these indemnification procedures?
     4             (Allergan-Kaufhold Exhibit 4            4             MS. LEVY: Objection. Calls
     5        marked for identification.)                  5        for a legal conclusion.
     6    QUESTIONS BY MR. MELAMED:                        6   QUESTIONS BY MR. MELAMED:
     7        Q. Okay. I'm going to hand you               7        Q. Do you know?
     8    what's been marked as Exhibit 4.                 8        A. I don't.
     9        A. Uh-huh.                                   9        Q. Okay. If you look -- it's very
    10        Q. Exhibit 4 is titled                      10   small type, and I apologize for that.
    11    "Exhibit 10.66 Execution Version, Settlement    11        A. No.
    12    Agreement and Mutual Releases."                 12        Q. If you look approximately
    13             Do you see that?                       13   two-thirds of the way down, there is a little
    14        A. Yes.                                     14   Roman Numeral II on the left column.
    15        Q. And you see that this is an              15             Do you see that?
    16    agreement executed January 31, 2018, or has     16        A. Yes.
    17    an effective date of January 31, 2018. It's     17        Q. Okay. If you go back a little,
    18    between Teva Pharmaceutical Industries,         18   it says that -- the sentence starts prior to
    19    Limited, and Allergan PLC, correct?             19   that: "In the case of third-party claims
    20        A. That is fair.                            20   that involve both, one, branded opioid drugs
    21        Q. If you turn to page 3. And you           21   of the retained business that are not
    22    see that page 3 contains Item Number 4, which   22   products and, two, generic opioid drugs that
    23    is agreed liabilities and indemnification,      23   are products, the parties shall, X, each be
    24    third-party claim indemnification procedures?   24   responsible for the defense of such
    25        A. Yes.                                     25   third-party claim in accordance with the


                                                                          7 (Pages 25 to 28)
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                                            Page 29                                              Page 30
     1    immediate prior sentence and, Y, cooperate       1       A. I am not.
     2    with each other to enable the proper and         2       Q. Okay. I represent to you that
     3    adequate defense of such third-party claim."     3   it has been.
     4             Do you see that?                        4       A. Okay. Understood.
     5        A. Yes, I do.                                5       Q. Actually, it was filed in 2014.
     6        Q. And your testimony is that you            6            Are you aware that in 2015, the
     7    did not cooperate with, nor did Teva             7   court in that case held that Allergan PLC --
     8    cooperate, with you in preparing for this        8   that it had jurisdiction to hear the claims
     9    deposition today; is that correct?               9   over Allergan PLC.
    10        A. I did not have a conversation            10            Are you aware of that?
    11    with them, no.                                  11       A. I am not.
    12        Q. Do you have any reason why?              12       Q. Okay. Do you know if
    13        A. Reason why I --                          13   Allergan PLC instituted a litigation hold in
    14        Q. Yeah. Why didn't you talk to             14   response to the filing of that case or in
    15    Teva before?                                    15   response to the opinion in 2015 upholding it
    16        A. I haven't spoken to them                 16   as a defendant?
    17    because my understanding is the liabilities     17       A. I am not.
    18    transferred to Teva. Teva owns the entities     18       Q. Can you list each opioid from
    19    in question, Actavis, and the records have      19   1995 to present that any Allergan entities,
    20    been transferred to the company. So I don't     20   parents -- I'm sorry. And by "Allergan
    21    have access to those files.                     21   entities" I just want to be clear, Allergan
    22        Q. You're aware that Allergan PLC           22   Finance, LLC, Allergan PLC, any and all
    23    was named as a defendant in a case brought in   23   subsidiaries, parents, predecessors,
    24    the Northern District of Illinois that was      24   successors and/or associated entities
    25    subsequently transferred to the MDL, correct?   25   resulting -- resulting from any and all

                                            Page 31                                              Page 32
     1    mergers over the years since 1995.               1   Laboratories Florida, f/k/a, formerly known
     2               Can you list each opioid that         2   as, Watson Laboratories, Inc., those related
     3    any of those entities have licensed,             3   products.
     4    manufactured, marketed, sold, distributed or     4            Page 3 you'll see Actavis
     5    had any other involvement with?                  5   Totowa, LLC; Actavis Elizabeth, LLC; Actavis,
     6         A. Yes.                                     6   Midatlantic, LLC; Actavis Laboratories Utah,
     7         Q. Okay. What are they?                     7   Inc., formerly known as Watson Laboratories,
     8         A. Okay. What I could do is refer           8   Inc., Salt Lake City. And on top of page 4,
     9    to the documents that we gave you today.         9   Item 7, is Actavis South Atlantic, LLC.
    10         Q. Uh-huh.                                 10            Remaining Allergan entities.
    11         A. Underneath 43.1, towards the            11   So these are the products that are retained
    12    bottom of the first page, we have involvement   12   by Allergan today, is Kadian -- and we've
    13    with opioids. And what we've done here, just    13   out-listed here the history of that product
    14    to make it easy for everyone, we've kind of     14   and the transfer of that product. When
    15    broken this down to the opioids associated to   15   Actavis legacy was the contract manufacturer
    16    the transferred entities as well as what are    16   for Alpharma, bought the product in 2008,
    17    the branded that have been retained by          17   being manufactured at Actavis Elizabeth's
    18    Allergan.                                       18   manufacturing facility, where it is still
    19               So first item -- or the first        19   manufactured today.
    20    entity on the bottom that you see here is       20            And then on page 5, we go into
    21    Watson Laboratories, comma, Inc., and then      21   Norco, which was the Watson-related product.
    22    you see underneath that the ANDA or the NDAs,   22        Q. So in your response and in the
    23    if it is applicable, for each of the opioid     23   chart you prepared, for each of the drugs
    24    product.                                        24   under involvement with opioids, you have
    25               Number 2 is Actavis                  25   listed which entity was listed as the ANDA or


                                                                          8 (Pages 29 to 32)
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                                            Page 33                                              Page 34
     1    NDA holder, correct?                             1        Q. Okay. That was why I was
     2         A. That is correct.                         2   asking the prior question, which is -- and
     3         Q. Have you listed which entities           3   I'll ask it again.
     4    had other involvement with the drugs that --     4        A. Sure.
     5    with those drugs? Any other involvement?         5        Q. Did any corporations, other
     6         A. These are all the companies and          6   than those listed here, have anything to do
     7    products.                                        7   with the drugs listed below those
     8         Q. Have -- so to take an example,           8   corporations?
     9    on page 3 there's Actavis Totowa --              9        A. Yes. And what I would like to
    10             Is that the correct --                 10   submit as part of the folder is kind of a
    11         A. That is correct.                        11   chronological order broken down between who
    12         Q. -- pronunciation?                       12   holds the IP, who is the manufacturer and who
    13             -- LLC is number 3, and the            13   is the entity that sold the products. It's a
    14    first drug is listed oxycodone acetaminophen.   14   one-pager.
    15         A. That's correct.                         15        Q. Is the -- the page up on the
    16         Q. And you provide the ANDA                16   screen --
    17    numbers.                                        17        A. That is correct.
    18             Did any other entity other than        18        Q. -- reflect part of the
    19    Actavis Totowa book any revenues from sales     19   one-pager?
    20    of that drug?                                   20        A. That is correct.
    21         A. Just to be clear on sales,              21        Q. Okay. And you've done that for
    22    Actavis Totowa, LLC, is the ANDA holder of      22   Norco and Kadian?
    23    that product. That does not necessarily mean    23        A. That is correct.
    24    they're the manufacturer, and they're           24        Q. What about for each of the
    25    certainly not the sales entity.                 25   other drugs listed in 43.1, the exhibit


                                            Page 35                                              Page 36
     1    you -- that was -- either you created or was     1   as it's not in the middle of any line of
     2    created for you that you brought today?          2   questioning, I'll be happy to give you that.
     3        A. Sure.                                     3       A. I appreciate that.
     4              So in regard to the time when          4             (Allergan-Kaufhold Exhibit 5
     5    Watson acquired Actavis legacy, okay, the        5       marked for identification.)
     6    sales entity that we would have used, all our    6   QUESTIONS BY MR. MELAMED:
     7    sales went through Watson Pharma, Inc., which    7       Q. I'm handing you what's been
     8    is currently known as Allergan USA, Inc.,        8   marked as Exhibit 5, and don't worry, I'm not
     9    today.                                           9   going to ask you to go through the entire
    10        Q. And when the sales went through          10   document.
    11    Watson Pharma, Inc. --                          11       A. I appreciate that.
    12        A. Yes.                                     12       Q. Exhibit 5 is the SEC Form 10-K
    13        Q. -- what entity booked revenue            13   for Watson Pharmaceuticals, Inc., for the
    14    from those sales?                               14   fiscal year ended December 31, 2001.
    15        A. Would have been Watson Pharma,           15       A. I see it.
    16    Inc.                                            16       Q. If you turn to page 6, please.
    17        Q. Not Watson Pharmaceuticals?              17   And the page numbers are -- I'm referring to
    18        A. No.                                      18   the small pagination in the center of the
    19        Q. What entity would have spent             19   bottom of the page.
    20    money on research, development, marketing,      20        A. (Witness complies.)
    21    cost of sales for those drugs?                  21       Q. And do you see the list of
    22        A. I don't know the specific                22   Watson-branded products near the top of
    23    entities.                                       23   page 6?
    24        Q. I forgot to mention this                 24       A. Yes.
    25    before. If you want to take a break, as long    25       Q. And you see that there are two


                                                                          9 (Pages 33 to 36)
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                                             Page 37                                             Page 38
      1    opioid-related products there?                   1        collection of companies reporting up
      2         A. Yes.                                     2        into the consolidated entity of Watson
      3         Q. Maxidone and Norco?                      3        Pharmaceuticals, comma, Inc.
      4         A. I do.                                    4   QUESTIONS BY MR. MELAMED:
      5         Q. Okay. Do you see that the --             5        Q. And that consolidated entity in
      6    the sentence prior to that says, "We             6   its financial statements records revenues
      7    currently market a total of 20 branded           7   generated from the sales of those two drugs,
      8    product lines that we classify as general and    8   correct?
      9    pain management products, including the          9        A. "That entity," could you
     10    following"?                                     10   clarify that, please?
     11         A. Yes.                                    11        Q. Yes.
     12         Q. Who is "we" in that sentence?           12             Watson Pharmaceuticals, Inc.,
     13         A. It refers to Watson                     13   the reporting entity here, reports in its
     14    Pharmaceutical, comma, Inc., and its indirect   14   financials sales from -- of Norco and
     15    and direct subsidiaries.                        15   Maxidone as of fiscal year 2001?
     16         Q. So Watson Pharmaceuticals,              16        A. On a consolidated basis.
     17    comma, Inc., is reporting to the SEC and to     17        Q. And it also reports cost of
     18    its investors that it, Watson                   18   sales for those two drugs, among others?
     19    Pharmaceuticals, comma, Inc., and some of its   19        A. On a consolidated basis.
     20    subsidiaries market Maxidone and Norco as of    20        Q. Turn to page 7. You'll see
     21    the fiscal -- end of fiscal year 2001?          21   that there is a similar list of off-patent
     22             MS. LEVY: Objection.                   22   pharmaceutical products.
     23             You can answer.                        23             Do you see the list of drugs?
     24             THE WITNESS: Okay. This is a           24        A. Small 7 of 87?
     25         consolidated financial, so it is a         25        Q. Yes. No, I'm sorry, not small

                                             Page 39                                             Page 40
      1    7 of 87. It's small 8 of 87. It's page           1             Turn back to page 3. Again,
      2    number 7 in the center.                          2   this is the 3 in the center of the bottom of
      3         A. Thanks for the clarification.            3   the page in the overview.
      4             Yes.                                    4             Do you see that the first
      5         Q. Okay. And do you see that it             5   paragraph states that this is Watson
      6    lists several opioids, including hydrocodone     6   Pharmaceutical, Inc., Watson, is primarily
      7    bitartrate acetaminophen, two versions of        7   engaged in the development, manufacture,
      8    that, and oxycodone acetaminophen?               8   marketing and distribution of patent and
      9         A. I do.                                    9   off-patent generic pharmaceutical products?
     10         Q. And you see in the full                 10       A. I see that.
     11    paragraph above that starts with "we are,"      11       Q. And you see that "we" is the
     12    the Watson Pharmaceuticals, Inc., in this       12   first word in the next sentence?
     13    10-K is reporting that it develops,             13       A. Yes.
     14    manufactures and sales off-patent               14       Q. Who is that "we" referring to
     15    pharmaceutical products?                        15   in this sentence?
     16         A. I do.                                   16       A. It is referring to Watson
     17         Q. And you see that the products I         17   Pharmaceuticals and its indirect and direct
     18    just identified are amongst those off-patent    18   subsidiaries.
     19    pharmaceutical products that Watson             19       Q. Where does it say that?
     20    Pharmaceutical, Inc., states -- Watson          20       A. It doesn't.
     21    Pharmaceutical, Inc., states it develops,       21       Q. Okay. If you were to read this
     22    manufactures and sales?                         22   as somebody reading plain English, who would
     23         A. I do.                                   23   the "we" refer to?
     24         Q. And I apologize, that should            24             MS. LEVY: Objection to that
     25    have been sells, not sales.                     25       question.


                                                                        10 (Pages 37 to 40)
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                                           Page 41                                              Page 42
      1              You can answer it.                   1       Q. Okay. If you identify it at a
      2              THE WITNESS: Again, with this        2   later point, I'm happy to -- you know, please
      3        document taking its context as being a     3   clarify your testimony.
      4        consolidated financial, again, from a      4       A. Sure.
      5        layman's perspective it's reporting on     5       Q. I'm not going to hold you to
      6        a group of entities.                       6   the guess if you're able to identify them.
      7    QUESTIONS BY MR. MELAMED:                      7            Which of the Allergan-related
      8        Q. Where does it define that group         8   entities -- and when I use that today, I'm
      9    of entities in this document?                  9   trying -- please ask me if I'm not being
     10              MS. LEVY: Objection. You're         10   clear --
     11        going to have to let the witness read     11       A. Sure.
     12        the document if you want him to answer    12       Q. -- but I'm trying to refer to
     13        about its contents.                       13   all of the predecessors, successors,
     14    QUESTIONS BY MR. MELAMED:                     14   subsidiaries, 1995 on, all the companies that
     15        Q. Do you know as you -- before           15   have been rolled up --
     16    you -- before flipping through it, and I'm    16       A. Understood.
     17    not -- this isn't a gotcha.                   17       Q. -- and potentially later sold.
     18        A. Sure.                                  18            Which made contributions on its
     19        Q. If you come back and find it           19   behalf or its parent's behalf or a
     20    later, that's cool.                           20   subsidiary's behalf to federal politicians to
     21              Do you know as you sit here         21   lobby?
     22    right now if this document defines the        22       A. I don't know.
     23    related entities, the consolidated entities   23       Q. Which actually engaged in
     24    that --                                       24   hiring lobbyists?
     25        A. I don't know that.                     25       A. I don't have that information.

                                           Page 43                                              Page 44
      1             MS. LEVY: Objection. This is          1           MR. MELAMED: Fair enough. You
      2        beyond the scope of the topics he's        2      can object and then --
      3        being designated on.                       3           MS. LEVY: Go ahead.
      4    QUESTIONS BY MR. MELAMED:                      4           THE WITNESS: I don't know.
      5        Q. Which participated directly in          5   QUESTIONS BY MR. MELAMED:
      6    lobbying?                                      6      Q. Okay. What about American
      7             MS. LEVY: Same objection.             7   Academy of Pain Medicine?
      8             THE WITNESS: I don't know.            8           MS. LEVY: Same objection.
      9             MS. LEVY: Beyond the scope of         9           THE WITNESS: I don't know.
     10        what he is -- let me finish my            10   QUESTIONS BY MR. MELAMED:
     11        objection.                                11      Q. American Pain Society?
     12             Beyond the scope of what this        12           MS. LEVY: Same objection.
     13        witness is being designated on.           13           THE WITNESS: I don't know.
     14    QUESTIONS BY MR. MELAMED:                     14   QUESTIONS BY MR. MELAMED:
     15        Q. Do you know which made payments        15      Q. Federation of State Medical
     16    of any type?                                  16   Boards?
     17             And by "any type" I'm meaning        17           MS. LEVY: Same objection.
     18    membership payments, sponsorship payments,    18           THE WITNESS: I don't know.
     19    donation payments, to the American Pain       19   QUESTIONS BY MR. MELAMED:
     20    Foundation.                                   20      Q. Alliance for Patient Access?
     21             MS. LEVY: Same objection.            21           MS. LEVY: Objection. Beyond
     22        This is -- you're welcome to spend as     22      the scope.
     23        much time as you want on this, but        23           You may answer.
     24        this is beyond the scope of the three     24           THE WITNESS: I don't know.
     25        topics that he is designated for.         25


                                                                      11 (Pages 41 to 44)
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                                            Page 45                                              Page 46
      1    QUESTIONS BY MR. MELAMED:                       1            Do you see the business
      2         Q. US Pain Foundation?                     2   overview?
      3             MS. LEVY: Same objection.              3       A. I do.
      4             THE WITNESS: I don't know.             4       Q. Okay. And you see that Watson
      5    QUESTIONS BY MR. MELAMED:                       5   Pharmaceuticals, Inc., here is defined --
      6         Q. US Geriatrics Society?                  6   "we" and "us" and "our" is defined as Watson
      7             MS. LEVY: Same objection.              7   Pharmaceuticals, Inc., for purposes of this
      8             THE WITNESS: I don't know.             8   document, correct?
      9             (Allergan-Kaufhold Exhibit 6           9       A. That is correct.
     10         marked for identification.)               10       Q. If you just turn the page one
     11    QUESTIONS BY MR. MELAMED:                      11   page, you see a listing of some, but not all,
     12         Q. I'm handing you what's been            12   of Watson's generic products, correct?
     13    marked as Exhibit 6.                           13       A. Correct.
     14             Exhibit 6 is a -- an SEC Form         14       Q. And amongst those there are
     15    10-K for the fiscal year ended December 31,    15   several opioids, correct?
     16    2005, for Watson Pharmaceuticals, Inc.         16       A. Correct.
     17             Turn to page -- let's see how         17       Q. And I see hydrocodone
     18    it's paginated. Unfortunately, the             18   bitartrate acetaminophen, which is comparable
     19    pagination on this one is in the middle of     19   to brand name Lorcet; hydrocodone bitartrate
     20    the page.                                      20   acetaminophen, comparable to Vicodin, and
     21         A. I see that.                            21   then the same comparable to Lortab, and then
     22         Q. Okay. So it's going to be the          22   the same comparable to Norco; and then
     23    second page but is actually on the paginated   23   oxycodone acetaminophen, comparable to
     24    page 3. So we're looking at the -- under the   24   Percocet; oxycodone HCL, comparable to
     25    table of contents, part 1.                     25   OxyContin, correct?

                                            Page 47                                              Page 48
      1        A. Correct.                                 1   products, generic segment, yes.
      2        Q. And you see that it refers --            2        Q. If you find the bottom -- if
      3    above that it refers to those generic drugs     3   you find what's marked, paginated, with
      4    and others as "our portfolio of generic         4   page 5 in the middle of the page and then you
      5    pharmaceutical products," correct?              5   look directly below that, do you see a list
      6        A. Correct.                                 6   of Watson brand products?
      7        Q. If you -- let's go back a page           7        A. Yes.
      8    under business description.                     8        Q. Okay. And you see that Norco
      9             You see it says there,                 9   is listed as a Watson brand product?
     10    "Prescription pharmaceutical products in the   10        A. I do.
     11    US generally are marketed as either generic    11        Q. And you see that preceding the
     12    or brand pharmaceuticals." Describes what      12   10-K says "our," meaning Watson
     13    generic and brand pharmaceuticals refer to,    13   Pharmaceuticals, Incorporated, "portfolio of
     14    and then it says, "As a result of the          14   brand pharmaceutical products includes," and
     15    differences between these two types of         15   then amongst the drugs it includes is Norco,
     16    products, we operate and manage our business   16   correct?
     17    as two segments: Generic and brand,"           17        A. Correct.
     18    correct?                                       18             MS. LEVY: Objection to the
     19        A. Correct.                                19        form.
     20        Q. So when we were just talking            20             Wait for me to object before
     21    about the drugs on the next page, we were      21        you answer.
     22    talking about the Watson Pharmaceuticals,      22             You can answer.
     23    Incorporated, brand -- I'm sorry, generic      23             THE WITNESS: Yes.
     24    segment, correct?                              24   QUESTIONS BY MR. MELAMED:
     25        A. That's what it -- yes, generic          25        Q. And if you look at the prior


                                                                       12 (Pages 45 to 48)
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                                            Page 49                                              Page 50
      1    paragraph, it says, "Our sales and marketing    1   statements, correct?
      2    groups have targeted selected therapeutic       2       A. On a consolidated basis.
      3    areas," correct?                                3       Q. Similarly, revenues would be --
      4        A. Yes.                                     4   for branded opioid sales such as Norco,
      5        Q. And it is -- those selected              5   referenced in this document, would be
      6    therapeutic areas are reflected in some of      6   recorded on Watson Pharmaceutical,
      7    the drugs, including Norco listed below,        7   Incorporated's financial statements, correct?
      8    correct?                                        8       A. On a consolidated basis.
      9        A. Yes.                                     9       Q. This is the fiscal year 2005
     10        Q. I'm sorry to go out of order.           10   10-K.
     11    Let's go back to page 3 for a second.          11            Can you tell me which entity
     12             Above the generics table, do          12   owned the NDA for Norco at that time? And
     13    you see the header "generic pharmaceutical     13   feel free to refer back to the chart.
     14    products"?                                     14       A. Sure. I'd have to refer back
     15        A. Yes.                                    15   to the chart.
     16        Q. Do you see that it's -- the             16            So in -- I'll call your
     17    10-K states, "Watson is a leader in the        17   attention to page 5 of the --
     18    development, manufacture and sale of generic   18       Q. Uh-huh.
     19    pharmaceutical products," correct?             19       A. -- grid chart. The holders of
     20        A. Yes.                                    20   the Norco ANDAs 2005 was Watson Laboratories,
     21        Q. So costs associated with the            21   comma, Inc.
     22    development, manufacture and sale of Watson    22       Q. Which is the entity that is the
     23    Pharmaceuticals, Incorporated, generic         23   reporting entity in Exhibit 6 that we've been
     24    opioids would be reflected on Watson           24   speaking about, correct?
     25    Pharmaceutical, Incorporated's financial       25       A. No.


                                            Page 51                                              Page 52
      1       Q. What is the difference between            1   comma, Inc.?
      2   the reporting entity in Exhibit 6 and the        2       A. Watson.
      3   holder in 2005?                                  3             Bottom of page 8, top of
      4       A. Sure.                                     4   page 9, we provided here who the director,
      5            The holder of the ANDA was a            5   officers, were as of 2012 and 2013.
      6   company called Watson Laboratories, comma,       6       Q. Okay. But not the directors as
      7   Inc., which is an indirect subsidiary of the     7   of 2005; is that correct?
      8   top parent company of Watson Pharmaceuticals,    8       A. That is correct.
      9   comma, Inc., whose only assets is the net        9       Q. And I see Watson Laboratories,
     10   investment in the subsidiaries below it.        10   Inc., the list -- the name is all the way at
     11       Q. Understood.                              11   the bottom of page 8, but the actual list
     12            Who were the executive officers        12   appears complete on page 9, correct?
     13   of Watson Laboratories, comma, Inc., in         13       A. That's correct.
     14   fiscal year 2005?                               14       Q. Okay. The officers -- the
     15       A. Watson Pharmaceuticals, comma,           15   director is singular. It's Paul Bisaro.
     16   Inc. --                                         16             Was he also the director of --
     17       Q. Uh-huh.                                  17   just want to make sure I get the name
     18       A. -- you're referring to?                  18   right -- of Watson Pharmaceuticals, Inc., at
     19            We've listed those on page 10.         19   that time? Or "a" director of Watson
     20   We've actually provided years when -- who       20   Pharmaceutical, Inc.?
     21   were the officers and who were the directors.   21       A. I'd have to refer back to the
     22       Q. Okay. And that's for Watson              22   10-K since this was before my time.
     23   Pharmaceuticals, comma, Inc.?                   23       Q. Do you know -- I'm happy to let
     24       A. Comma, Inc., that is correct.            24   you do that.
     25       Q. What about Watson Laboratories,          25             Do you know whether the


                                                                        13 (Pages 49 to 52)
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                                             Page 53                                              Page 54
      1    officers of Watson Laboratories, Inc., were      1   director of Watson Pharmaceuticals, Inc., and
      2    coextensive with the officers of Watson          2   Watson Laboratories, Inc., correct?
      3    Pharmaceuticals, Inc., at that time?             3       A. That is correct.
      4        A. Could you repeat that, please?            4       Q. Same in 2013?
      5        Q. Do you know if the directors of           5       A. That would be -- that would be
      6    the two entities we're talking about were the    6   correct.
      7    same?                                            7       Q. What about the other -- just
      8        A. Between Watson Pharmaceutical,            8   sticking with these listed officers on page 9
      9    comma, Inc., and --                              9   of the exhibit you prepared, are each of
     10        Q. And Watson Laboratories, Inc.            10   these officers of Watson Laboratories, Inc.,
     11        A. No, they would not be the same.          11   as of these dates in -- on July 24, 2012,
     12             And actually, just to clarify          12   also officers of Watson Pharmaceuticals,
     13    here in regard to Paul Bisaro, who I listed     13   Inc., as of that date?
     14    in 2012, he's not listed in '05. I believe      14       A. I don't have that information.
     15    he joined the company sometime in the '07,      15       Q. You don't know; is this
     16    '08 time frame.                                 16   correct?
     17        Q. Okay. In 2012, do you know,              17       A. I don't know.
     18    without looking at the -- at a K -- and if we   18            (Allergan-Kaufhold Exhibit 7
     19    have to, we'll get there -- but do you know     19       marked for identification.)
     20    whether Paul Bisaro was an officer of Watson    20   QUESTIONS BY MR. MELAMED:
     21    Pharmaceuticals, Inc.?                          21       Q. I'm handing you what's been
     22        A. He would be -- at 2012 he would          22   marked as Exhibit 7.
     23    be the CEO, president, of Watson                23            Exhibit 7 is SEC Form 10-K for
     24    Pharmaceutical, comma, Inc.                     24   Actavis, Inc., for the fiscal year ended
     25        Q. So as of 2012, he was both a             25   December 31, 2012?

                                             Page 55                                              Page 56
      1       A.      Actavis, comma, Inc., yes.            1   of 2012, there is a bigger chart in there
      2       Q.      Actavis, comma, Inc.                  2   that steps through the history and the
      3             And you see that the address            3   evolution of the Actavis Group from the time
      4    for the principal executive offices is in the    4   Watson Pharmaceutical, Inc., acquired it and
      5    Morris Corporate Center in Parsippany, New       5   the other subsequent transformational
      6    Jersey?                                          6   transactions as well, too.
      7        A. Yes.                                      7       Q. Okay. So just to be clear for
      8        Q. If you'd turn to page 3, and              8   the record, the August 2, 2016 chart you were
      9    here the pagination does align with the          9   referring to has a Bates number which is
     10    pages, which is helpful.                        10   ALLERGAN_MDL_03674501, correct?
     11             In the business overview, it           11       A. That is correct.
     12    reflects that Watson Pharmaceuticals, Inc.,     12       Q. Okay. And -- all right. And
     13    completed the acquisition of Actavis Group in   13   just so the record's clear, I'm going to mark
     14    2012, correct?                                  14   the larger chart that you gave me as a
     15        A. That is correct.                         15   separate document. So when I -- when I --
     16        Q. What are the entities in                 16   this exhibit will appear in two places. It
     17    Actavis Group?                                  17   will be in the collection of materials you
     18        A. I think probably the easiest             18   gave to me earlier, but it will also be a
     19    way to refer to that since it's numerous is     19   standalone, single-page document.
     20    in one of the pictorials that we've provided.   20       A. Understood.
     21    And I'm referring to Allergan PLC and           21       Q. Do you want to trade so you can
     22    subsidiaries as of August 2, 2016.              22   have the marked exhibit, as long as you
     23             I also, just as a reference,           23   haven't written on it?
     24    given the, you know, the transformation of      24       A. No. Good.
     25    the business, you know, really since November   25       Q. And I've marked that as


                                                                        14 (Pages 53 to 56)
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                                            Page 57                                              Page 58
      1    Exhibit 8.                                      1       that's the way I say it.
      2             (Allergan-Kaufhold Exhibit 8           2            MR. MELAMED: I will refer to
      3        marked for identification.)                 3       it as Amide.
      4    QUESTIONS BY MR. MELAMED:                       4   QUESTIONS BY MR. MELAMED:
      5        Q. So I just want to very briefly           5       Q. And Amide had an ANDA for
      6    talk through this. I think it's pretty          6   oxycodone hydrochloride tablets, is that
      7    self-explanatory.                               7   correct, at the time it was acquired?
      8        A. Sure.                                    8       A. I believe I listed -- they
      9        Q. There are a lot of people on             9   became -- it would have been the Kadian
     10    the phone, and I want to make sure the         10   product.
     11    record's clear.                                11       Q. Keep that chart out. I'm going
     12             So the Actavis Group acquires a       12   to hand you another exhibit to look at
     13    company called Amide or Amide                  13   briefly.
     14    Pharmaceuticals; is that correct?              14            (Allergan-Kaufhold Exhibit 9
     15        A. That is -- it -- it buys the            15       marked for identification.)
     16    manufacturing facility Purepac --              16   QUESTIONS BY MR. MELAMED:
     17        Q. Okay.                                   17       Q. This is marked as Exhibit 9.
     18        A. -- from Alpharma generic.               18            Exhibit 9 is a letter from the
     19        Q. Okay. And is Amide that                 19   Department of Health and Human Services dated
     20    manufacturing facility, or is that something   20   February 6, 2004, to Amide Pharmaceutical
     21    different?                                     21   concluding that its ANDA for oxycodone
     22        A. That's something different.             22   hydrochloride tablets is safe and effective
     23    Purepac was the manufacturer.                  23   for use as recommended in the submitted
     24             MS. LEVY: I think it's Amide.         24   labeling.
     25        I'm not sure. Maybe I'm southern, but      25            Do you see that?


                                            Page 59                                              Page 60
      1         A. I do.                                   1   trading again so everybody can be clear what
      2         Q. When -- now, if you return to           2   we're talking about.
      3    the chart, when the Actavis Group acquired      3            (Allergan-Kaufhold Exhibit 10
      4    Amide Pharmaceuticals, it also acquired the     4       marked for identification.)
      5    ANDA for oxycodone hydrochloride tablets,       5   QUESTIONS BY MR. MELAMED:
      6    correct?                                        6       Q. Okay. So page 4 of 6 has the
      7         A. I see that on a list on the             7   Bate stamp at the bottom,
      8    grid.                                           8   ALLERGAN_MDL_03674504; is that correct?
      9         Q. Okay. What is in the Actavis            9       A. That is correct.
     10    Group as reflected on the chart you've         10       Q. And this is dated 2016,
     11    prepared? What entities?                       11   correct?
     12         A. Sure. What I'll refer to is            12       A. That is correct.
     13    the other chart that I provided, and this is   13       Q. So I just want to be clear.
     14    the one that's the Allergan PLC and            14   What I was asking about, if you look at the
     15    subsidiaries at August 2, 2006. We refer       15   chart you created --
     16    that to MDL_03674504.                          16       A. Yes.
     17             And if I refer to page 4 of           17       Q. -- Actavis Group is labeled in
     18    6 --                                           18   the upper left, and the first date associated
     19         Q. It's dated August 2nd --               19   with that is 2005 on the chart you created,
     20         A. 2nd.                                   20   correct?
     21         Q. 2016?                                  21       A. That is correct, yes.
     22         A. 2016, that is correct.                 22       Q. It actually preexisted that
     23         Q. Okay.                                  23   date, right? That was the date it entered
     24         A. Okay. I'm just going to mark           24   the opioids market. So Actavis Group existed
     25    this as an exhibit. If you wouldn't mind       25   as an entity prior to 2005?


                                                                        15 (Pages 57 to 60)
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                                             Page 61                                              Page 62
      1        A. That is correct.                          1   be divested in December 2008, correct?
      2        Q. What entities were in the                 2       A. The -- so the Kadian divested
      3    Actavis Group when it entered the opioid         3   was King Pharma -- King Alpharma divesting
      4    market?                                          4   the Kadian product. So King was acquiring
      5        A. I don't have that information             5   Alpharma. Kadian was divested. Actavis,
      6    here.                                            6   Inc., prior to the acquisition of that
      7        Q. Okay. So returning to the                 7   company by Watson Pharmaceutical, comma,
      8    chart you created, when did the Actavis Group    8   Inc., since that happened in 2008, that
      9    become Actavis, Inc., to which -- the one        9   product became part of legacy Actavis, as we
     10    that has the dotted line with the Kadian        10   refer it to.
     11    investment in it?                               11             Then Watson Pharmaceutical,
     12        A. So the Actavis Group was                 12   comma, Inc., acquired that company in October
     13    acquired by Watson Pharmaceutical, comma,       13   of 2012. We rebranded the company to
     14    Inc., in October of 2012, okay? At that         14   Actavis, comma, Inc.
     15    point in time, the combined entity, the name    15             And then subsequent to that, in
     16    was changed from Watson Pharmaceutical,         16   October of 2013, Actavis, Inc., acquired a
     17    comma, Inc., to Actavis, comma, Inc.            17   company by the name of Warner Chilcott PLC.
     18        Q. Okay. Do you see how there are           18       Q. Understood.
     19    two Actavis, comma, Inc.s, on the chart that    19             I just want to make clear, the
     20    you created?                                    20   thing I'm not -- I'm clear on the
     21             There is the one that was              21   October 2013 --
     22    created in October 2013, and then there is      22       A. Okay.
     23    one above it --                                 23       Q. -- renaming of Actavis, Inc.
     24        A. Right.                                   24             Watson acquires Actavis,
     25        Q. -- to which Kadian appears to            25   something, and decides to rename it Actavis,


                                             Page 63                                              Page 64
      1    Inc.                                             1       Q. Okay. So your outside counsel
      2              Is that essentially correct?           2   created this at your direction?
      3         A. Renamed it Actavis, comma, Inc.          3       A. That is correct.
      4         Q. Actavis, comma, Inc.                     4       Q. Okay. And this reflects the
      5              What is the entity that Watson         5   corporate entities, the Allergan-related
      6    Pharmaceuticals, Inc., acquired called?          6   corporate entities, that had involvement in
      7         A. I believe it was the Actavis             7   the US opioid market through time; is that
      8    Group.                                           8   correct?
      9         Q. What are the entities in the             9       A. That would be correct.
     10    Actavis Group?                                  10       Q. Before we were looking at the
     11         A. I don't have that information.          11   10-K for fiscal year 2012. Can you remind me
     12         Q. Okay. Warner Chilcott was an            12   what exhibit that was? I'm sorry that I
     13    Irish company, correct?                         13   don't have it.
     14         A. Excuse me.                              14       A. It was Exhibit 7.
     15         Q. Warner Chilcott was an Irish            15       Q. Okay. If you turn to part 1,
     16    company?                                        16   page 3, you'll see the business overview.
     17         A. Was, yes.                               17   The first paragraph pertains to the -- one of
     18         Q. And after Actavis, Inc.,                18   the transactions you were just talking about,
     19    acquired Warner -- let me withdraw that.        19   correct?
     20    I'll get to that a little later.                20       A. Yes.
     21         A. Sure.                                   21       Q. And that transaction being
     22         Q. So this chart, you -- did you           22   Watson Pharmaceuticals, Inc., acquired
     23    create this chart?                              23   Actavis Group in October of 2012, correct?
     24         A. At my direction, the attorneys          24       A. Correct.
     25    created this.                                   25       Q. Watson then subsequently


                                                                         16 (Pages 61 to 64)
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                                             Page 65                                              Page 66
      1    changed its name to Actavis, Inc., in early      1        A. It was an indirect subsidiary
      2    2013, right?                                     2   of Watson Pharmaceutical, comma, Inc.
      3        A. Changed the name to Actavis,              3        Q. Indirect subsidiary, you're
      4    comma, Inc., yes.                                4   talking about for tax purposes?
      5        Q. Actavis, comma, Inc.                      5        A. From an ownership perspective.
      6             Is there an entity called               6   It's not a direct, hundred-percent owned
      7    Actavis Inc. without a comma?                    7   subsidiary of Watson Pharmaceutical, comma,
      8        A. There is.                                 8   Inc.
      9        Q. Can you explain where they fit            9        Q. Okay. We can turn back to
     10    into this corporate structure?                  10   Exhibit 7, which is the 10-K from fiscal year
     11        A. I'll just have to refer to the           11   2012 of Actavis, Inc. And we were just going
     12    chart.                                          12   over the business overview, and we'd
     13             On this chart, Actavis Inc., I         13   established that Watson Pharmaceuticals,
     14    believe, is -- on this chart is known as        14   Inc., had completed the acquisition of
     15    Actavis, LLC. So Actavis Inc. was the old       15   Actavis Group.
     16    Actavis US business that was acquired.          16             And am I correct then that when
     17             So the legacy business name was        17   this 10-K says Watson Pharmaceuticals, Inc.,
     18    Actavis Inc. The top parent company, Watson     18   completed the acquisition of Actavis Group,
     19    Pharmaceutical, comma, Inc., changed its name   19   it acquired a company that is also known as
     20    to Actavis, comma, Inc. So the difference       20   Actavis, no comma, Inc.?
     21    between the two companies is the comma.         21        A. Watson Pharmaceutical, comma,
     22        Q. And the difference is that the           22   Inc., completed the acquisition of the
     23    non-comma -- what you're testifying is that     23   Actavis Group.
     24    the non-comma company, Actavis Inc., was a      24        Q. And is the Actavis Group
     25    subsidiary of Watson Pharmaceuticals, Inc.?     25   Actavis, no comma, Inc., or no? Am I

                                             Page 67                                              Page 68
      1    misunderstanding?                                1      Q.       Thanks for clarifying that.
      2         A. Actavis Inc. -- I'm just                 2             And you see that Actavis,
      3    thinking on the international side since         3   comma, Inc., describes itself as a global
      4    Actavis Group would have had international       4   specialty pharmaceutical company engaged in
      5    operations as well. Actavis Inc. might just      5   the development, manufacturing, marketing,
      6    refer to the US part of that entity.             6   sale and distribution of generic-branded,
      7         Q. At this point you're not sure?           7   generic -- I'm sorry, let me state that more
      8         A. No.                                      8   clearly -- of generic, comma, branded
      9         Q. Okay. If you -- if at a break            9   generic, comma, brand biosimilar and
     10    or whenever you figure this out --              10   over-the-counter pharmaceutical products?
     11         A. Sure.                                   11        A. Yes.
     12         Q. -- please let me know.                  12        Q. And those include opioids, both
     13         A. I will.                                 13   branded and generic, correct?
     14         Q. So returning to the business            14        A. Correct.
     15    overview in the -- in Exhibit 7, you see that   15        Q. If you turn to page 4, near the
     16    Watson Pharmaceuticals, Inc., changes           16   top you'll see that the acquisition of
     17    its ticker symbol from WPI to ACT in January    17   Actavis Group resulted in the company
     18    2013, correct?                                  18   becoming the third largest global generics
     19         A. Correct.                                19   pharmaceutical company, correct?
     20         Q. And then the document names             20             It's the first sentence of the
     21    Actavis, Inc. -- it defines Actavis, Inc. as    21   first full paragraph.
     22    Actavis, the company, we, us, our, for          22        A. I see that, yes.
     23    purposes of the 10-K, correct?                  23        Q. Okay. If you turn to page 8,
     24         A. Actavis, comma, Inc., yes, is           24   you see another list of generic products, and
     25    defined as that.                                25   the drugs named in this list, according to


                                                                        17 (Pages 65 to 68)
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                                             Page 69                                              Page 70
      1    the preceding paragraph, reflected               1   segment"?
      2    approximately 50 -- I'm sorry, 57 percent of     2       A. Yes.
      3    the Actavis pharma segment product revenues      3       Q. And again, it refers to "our
      4    in 2012, correct?                                4   Anda distribution business."
      5        A. Correct.                                  5            Do you see that?
      6        Q. And those included opioids --             6       A. I do.
      7    the opioids fentanyl transdermal system,         7       Q. And "our" means Actavis, comma,
      8    hydrocodone bitartrate acetaminophen,            8   Inc., correct?
      9    morphine sulfate, oxycodone hydrochloride and    9       A. Could you rephrase that or
     10    acetaminophen, correct?                         10   repeat that, please?
     11        A. Correct.                                 11       Q. Sure. It's just the definition
     12        Q. And again, the sentence at the           12   of "our" again.
     13    beginning -- just preceding the list of drugs   13            "Our" there refers to Actavis,
     14    refers to "our" US portfolio, correct?          14   comma, Inc., in this context, correct?
     15        A. Correct.                                 15       A. "Our" -- that's what "our"
     16        Q. And "our" has been previously            16   refers to.
     17    defined as Actavis, Inc., correct?              17       Q. And the Anda distribution
     18        A. Has been defined as Actavis,             18   business distributed prescription opioids,
     19    comma, Inc.                                     19   correct?
     20        Q. Thank you for the                        20       A. The legal entity of Anda did,
     21    clarification. We might need to go over that    21   yes.
     22    a few times.                                    22       Q. I'm just asking about the Anda
     23        A. Yes. Yes.                                23   distribution business as -- as named here.
     24        Q. If you turn to page 12, do you           24       A. Yes.
     25    see the section titled "Anda distribution       25       Q. Okay. And it had -- if you

                                             Page 71                                              Page 72
      1    look a couple paragraphs down toward the end     1   revenues and expenses from the distribution
      2    of that section on Anda, it reflects that as     2   of both -- of Actavis, comma, Inc.'s, generic
      3    of 2012, fiscal year 2012, the Anda              3   and branded opioids, correct?
      4    distribution business distributed products       4        A. It might -- no, it would not be
      5    from facilities in Florida, Ohio,                5   all the sales of the products. There was
      6    Mississippi, and then a small volume from        6   other distribution centers.
      7    Puerto Rico, correct?                            7        Q. Let me rephrase the question.
      8        A. Correct.                                  8        A. Yeah.
      9        Q. If you turn to page F 48 in the           9        Q. Some of Anda distribution
     10    financials, you see that this page reports      10   segments, revenues and expenses reflect
     11    the segment revenues, operating expenses, et    11   revenues and expenses derived from the sale
     12    cetera?                                         12   of Actavis, comma, Inc.'s, generic and
     13        A. Yes.                                     13   branded opioids; is that correct?
     14        Q. Okay. And so the Actavis                 14            MS. LEVY: Object to the form.
     15    Pharma segment contains revenues and            15            THE WITNESS: It reflects the
     16    operating expenses reflecting Actavis, comma,   16        sales of the indirect subsidiary of
     17    Incorporated's, generic opioids, correct?       17        Actavis, comma, Inc., that booked the
     18        A. Correct.                                 18        sales. These are consolidated
     19        Q. And its specialty brand segment          19        financial statements, so this is on --
     20    includes revenues and operating expenses from   20        reporting on the group.
     21    Actavis, comma, Inc.'s, branded opioids,        21   QUESTIONS BY MR. MELAMED:
     22    correct?                                        22        Q. Uh-huh. And this is described
     23        A. Yes.                                     23   in the 10-K as a reporting segment, correct?
     24        Q. And Anda distribution segments           24        A. This is a reporting segment,
     25    revenues and operating expenses reflect         25   yes.


                                                                        18 (Pages 69 to 72)
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                                             Page 73                                              Page 74
      1        Q. And Anda, also at this point in           1            And turn to page 77.
      2    time, distributed opioid -- prescription         2            Do you see it lists the
      3    opioids manufactured by other companies aside    3   executive officers of the registrant?
      4    from Actavis, comma, Inc.; is that correct?      4       A. Yes.
      5        A. I don't have direct knowledge             5       Q. And it lists Paul Bisaro,
      6    of that.                                         6   Sigurder Olfasson, G. Frederick Wilkinson,
      7        Q. There's no reason to say that             7   Robert Stewart, R. Todd Joyce, David Buchen,
      8    you believe that's not so; you just don't        8   Charles Mayr and Patrick Eagan?
      9    know?                                            9       A. Correct.
     10        A. I don't know.                            10            (Allergan-Kaufhold Exhibit 11
     11             MR. MELAMED: Let's go off the          11       marked for identification.)
     12        record.                                     12   QUESTIONS BY MR. MELAMED:
     13             VIDEOGRAPHER: The time is              13       Q. Okay. I'm going to hand you
     14        1:25 p.m. Going off the record.             14   what's been marked as Exhibit 11.
     15         (Off the record at 1:25 p.m.)              15            Exhibit 11 is -- is the Form
     16             VIDEOGRAPHER: Okay. We are             16   10-K for Actavis PLC for the year ended 2013?
     17        back on the record. The time is             17       A. Yes.
     18        1:39 p.m.                                   18       Q. If you'd turn to page 98.
     19    QUESTIONS BY MR. MELAMED:                       19       A. I'm on 98.
     20        Q. All right. I want you to pull            20       Q. And you see the executive
     21    back out the Actavis, comma, Inc., Form 10-K    21   officers of the registrant listed?
     22    for the year ended December 31, 2012, which I   22       A. I do.
     23    believe is --                                   23       Q. And you see that each of the
     24        A. 7.                                       24   executive officers, with the exception of
     25        Q. Thank you. Exhibit 7.                    25   one, was an executive officer of Actavis,


                                             Page 75                                              Page 76
      1    comma, Inc., the year before, correct?           1        A. That was the principal office
      2        A. That is correct.                          2   of Actavis, comma, Inc., yes.
      3        Q. The only difference being James           3        Q. Okay. And where did -- the
      4    D'Arecca or D'Arecca --                          4   individuals on page 98, the executive
      5        A. D'Arecca.                                 5   officers of the registrant, where did they
      6        Q. D'Arecca, thank you.                      6   keep their offices?
      7             -- was added as an executive in         7        A. They worked from the
      8    2013 of Allergan PLC, correct?                   8   administrative headquarters.
      9        A. That is correct.                          9        Q. In Parsippany, New Jersey?
     10        Q. If you turn back to page 3 now           10        A. In Parsippany.
     11    of Exhibit 11, you'll see that in the third     11        Q. So the activities of Actavis
     12    paragraph Allergan PLC's principal executive    12   PLC, in fiscal year 2013, were directed,
     13    offices are located -- sorry. Sorry.            13   controlled and coordinated by executives
     14    Withdraw that.                                  14   located in Parsippany, New Jersey, correct?
     15             Page 4. It says that while the         15             MS. LEVY: Objection to form.
     16    principal executive offices are now located     16             THE WITNESS: Can you rephrase
     17    in Dublin, the administrative offices are       17        that about activities?
     18    located at the Morris Corporate Center in       18   QUESTIONS BY MR. MELAMED:
     19    Parsippany, New Jersey, correct?                19        Q. Sure.
     20        A. That is correct.                         20             Actavis PLC as a company --
     21        Q. And that's the same address              21        A. Yes.
     22    where Allergan, comma, Inc.'s, executive        22        Q. -- was run by executives
     23    offices were located -- I'm sorry, principal    23   located in Parsippany, New Jersey, in 2013;
     24    headquarters were located at the end of         24   is that correct?
     25    fiscal year 2012, correct?                      25        A. Actavis PLC, in the matter and


                                                                         19 (Pages 73 to 76)
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                                             Page 77                                              Page 78
      1    course of its business -- and again, when I      1       Q. All of the executives were
      2    look at that, it is from the board of            2   based in New Jersey, correct?
      3    directors and board meetings -- board            3       A. They were based in Jersey.
      4    meetings are in Dublin, Ireland.                 4       Q. And they traveled to Ireland
      5        Q. Where were -- you said the                5   for board meetings?
      6    executives were in New Jersey, correct?          6       A. They participated in the board
      7        A. The ones that we described on             7   meetings, and all our board meetings,
      8    98 were working out of the administrative        8   stockholder meetings, are based in Dublin.
      9    offices.                                         9       Q. How many of those were there a
     10        Q. Is it your understanding that            10   year?
     11    board -- board members direct the day-to-day    11       A. At least four, probably more,
     12    operations of the company?                      12   considering any type of material,
     13        A. The board members give                   13   transactions, acquisitions. Those decisions
     14    oversight to the company.                       14   were made in Dublin as well.
     15        Q. Who directs the day-to-day               15       Q. Board decisions were made in
     16    operations of the company?                      16   Dublin?
     17        A. Would be the -- the day-to-day           17       A. Board decisions, company
     18    operations of a company is usually the          18   decisions, material acquisitions and so
     19    leadership, the executive leadership, team.     19   forth.
     20        Q. And that executive leadership            20       Q. Mr. Bisaro, among others,
     21    conducted that day-to-day leadership of         21   participated in quarterly conference calls
     22    Actavis PLC as of fiscal year 2013 from New     22   with investors, correct?
     23    Jersey, correct?                                23       A. That is correct.
     24        A. Part of the business was based           24       Q. Do you know where he prepared
     25    in New Jersey.                                  25   for those?

                                             Page 79                                              Page 80
      1        A. I do not.                                 1   the public company.
      2        Q. So go back to page 3, which               2       Q. And that was a one-to-one basis
      3    recounts the company history. And it states      3   as well, correct?
      4    that "Actavis PLC, which was formerly known      4       A. I don't have the ratio.
      5    as Actavis Limited, was incorporated in          5       Q. If you look at the last
      6    Ireland in 2013, first as a limited company,     6   sentence of the first paragraph of the
      7    subsequently as a public limited company, for    7   company history --
      8    the purpose of facilitating the business         8       A. Okay.
      9    connection between Actavis, Inc., and Warner     9       Q. -- does that refresh your
     10    Chilcott PLC," correct?                         10   recollection?
     11        A. Correct.                                 11       A. Where are you seeing that?
     12        Q. So neither Actavis Limited nor           12       Q. It says, "Each" -- I'm on
     13    Actavis PLC had any existence before they       13   page 3.
     14    were created to effectuate that merger?         14       A. Page 3.
     15        A. That is -- that is correct.              15       Q. Last sentence, first paragraph,
     16        Q. As part of the merger, each              16   "Each of Actavis, comma, Inc.'s, common
     17    share of Actavis, comma, Inc., stock            17   shares was converted into one company
     18    converted -- I'm sorry, let me withdraw that.   18   ordinary share."
     19    State it a different way.                       19            Do you see that?
     20        A. Uh-huh.                                  20       A. Yes.
     21        Q. As part of the merger, all               21       Q. And do you see the paragraph on
     22    shares of Actavis, comma, Inc., stock were      22   page 3 just preceding the business overview
     23    converted into Actavis PLC common ordinary      23   that defines "we," "our," "us," "the company"
     24    shares; is that correct?                        24   and "Actavis" throughout this document?
     25        A. That is correct. That became             25       A. I do.


                                                                        20 (Pages 77 to 80)
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                                             Page 81                                             Page 82
      1        Q. And you see that they refer to            1        A. Correct.
      2    the financial information and transactions of    2        Q. And some of the branded
      3    Watson Pharmaceuticals, Inc., before 2000 --     3   pharmaceutical products include branded
      4    January 23, 2013?                                4   opioids such as Kadian and Norco, correct?
      5        A. That is correct.                          5        A. Correct.
      6        Q. And then they refer to Actavis,           6        Q. If you turn to page 10, you see
      7    the financial information and transactions of    7   a list of key generic pharmaceutical
      8    Actavis, comma, Inc., from January 23, 2013,     8   products, correct?
      9    until October 1, 2013?                           9        A. That is correct.
     10        A. Yes.                                     10        Q. And there -- this -- under the
     11        Q. And then subsequently to                 11   title of "Actavis Pharma Product Portfolio."
     12    Actavis PLC?                                    12             Do you see that?
     13        A. Correct.                                 13        A. Yes.
     14        Q. And then in the business                 14        Q. You see among the generic
     15    overview, Actavis is described as a             15   products listed are the opioids fentanyl
     16    pharmaceutical company engaged in the           16   transdermal system, hydrocodone bitartrate
     17    development, manufacturing, marketing, sale     17   acetaminophen and morphine sulfate?
     18    and distribution of generic, branded generic,   18        A. Yes.
     19    brand name, brand or branded, biosimilar and    19        Q. And you see the next paragraph,
     20    over-the-counter, OTC, pharmaceutical           20   second sentence, where it says "we," meaning
     21    products, right?                                21   Allergan PLC, "sell our generic prescription
     22        A. Correct.                                 22   opioids primarily under Watson Laboratories,
     23        Q. Those -- some of the generic             23   Watson Pharma and Actavis Pharma labels"?
     24    pharmaceutical products include generic         24        A. Yes.
     25    pharmaceutical opioids, correct?                25        Q. On page 12, you see a list of

                                             Page 83                                             Page 84
      1    key brand pharmaceutical product families,       1       Q. And you see that the results
      2    correct?                                         2   below reflect the segment net revenues,
      3        A. Correct.                                  3   operating expenses and contributions for the
      4        Q. And that includes the opioid              4   Actavis Pharma, Actavis Specialty Brands and
      5    Kadian, correct?                                 5   Actavis -- I'm sorry, Anda distribution
      6        A. Correct.                                  6   segments?
      7        Q. And then on page 14, the 10-K             7       A. I do.
      8    refers to another of the business segments,      8       Q. And the revenues and operating
      9    the Anda distribution segment, correct?          9   expenses for the Actavis Pharma business
     10        A. Yes.                                     10   segment included revenues derived from and
     11        Q. And that is a distributor of             11   expenses on generic opioids, correct?
     12    generic and brand pharmaceutical products,      12       A. Of the Actavis Pharma reporting
     13    vaccines, injectables, OTC medicines,           13   segment, yes.
     14    correct?                                        14       Q. Okay. And for the Actavis
     15        A. That is their business.                  15   Specialty Brand segment, that reflects
     16        Q. Yes.                                     16   revenues, some revenues, derived from and
     17             If you turn to page 65, you see        17   some expenses expended on the brand opioid
     18    the year-end financial highlights?              18   Kadian, correct?
     19             Do you see that? Are you at            19       A. Yes.
     20    that page?                                      20       Q. And do you have any reason --
     21        A. Yes.                                     21   you do not know as you sit here right now
     22        Q. Okay. And you see the year               22   whether the Anda distribution business
     23    ended December 31, 2013, compared to 2012       23   segment distributed opioids, whether from
     24    section?                                        24   Actavis PLC or any other company; is that
     25        A. I do.                                    25   correct?


                                                                        21 (Pages 81 to 84)
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                                             Page 85                                              Page 86
      1        A. That's correct.                           1        A. That is correct.
      2        Q. Do you know how -- if you turn            2        Q. And you mentioned before you
      3    the page to 66, it starts breaking down by       3   don't remember -- I just want to make sure
      4    business segment financials.                     4   I'm clear on this. You don't remember
      5             This is the Actavis Pharma              5   receiving a litigation hold letter or similar
      6    segment?                                         6   document concerning those records at any
      7        A. Uh-huh.                                   7   point, do you?
      8        Q. Do you know how much of the               8            MS. LEVY: Objection to form.
      9    revenue for the Actavis Pharma segment was       9            You can answer.
     10    derived from sales of generic opioids in        10            THE WITNESS: Sure. I mean, we
     11    fiscal year 2013?                               11        do as it relates to other type of
     12             MS. LEVY: Objection. Beyond            12        cases. This specific question, I
     13        the scope of this witness' testimony.       13        don't remember.
     14             THE WITNESS: I do not know.            14   QUESTIONS BY MR. MELAMED:
     15    QUESTIONS BY MR. MELAMED:                       15        Q. The specific question you're
     16        Q. Where would you find out that            16   referring to being?
     17    information or from whom?                       17        A. This case, the opioid.
     18        A. I would have to ask Teva of the          18        Q. You don't remember receiving a
     19    generic opioids, since the business was sold    19   litigation hold letter --
     20    to Teva. The books and records were             20        A. That's correct.
     21    transferred.                                    21        Q. -- or something like it
     22        Q. Is it your understanding that            22   concerning the generic opioid business
     23    Actavis PLC, which became Allergan PLC, no      23   transferred to Teva in 2016?
     24    longer has the books and records reflecting     24        A. I don't remember. It doesn't
     25    that period of time?                            25   mean that I haven't.

                                             Page 87                                              Page 88
      1       Q.      Fair enough.                          1   distribution through the Anda business
      2             I assume if I ask you the same          2   segment of any generics?
      3    questions about the percentage of revenues or    3             MS. LEVY: Objection. Beyond
      4    the percentage of costs -- well, let me          4        the scope of what this witness is
      5    withdraw that.                                   5        designated for, and, also, that
      6             For the Actavis Specialty Brand         6        information has already been provided
      7    segment, which includes Kadian and Norco,        7        to counsel through written discovery.
      8    correct?                                         8             THE WITNESS: I do not know.
      9        A. That is correct.                          9             (Allergan-Kaufhold Exhibit 12
     10        Q. Do you know the percentage of            10        marked for identification.)
     11    revenues derived from sales of Norco and        11   QUESTIONS BY MR. MELAMED:
     12    Kadian together in fiscal year 2013?            12        Q. I'm going to hand you what has
     13            MS. LEVY: Objection. That is            13   been marked Exhibit 12.
     14        beyond the scope of the topics for          14             Exhibit 12 is the fiscal year
     15        which this witness is being                 15   2014 Form 10-K for Actavis PLC.
     16        designated.                                 16        A. Correct.
     17            You may answer the question.            17        Q. If you turn to page 2, do you
     18             THE WITNESS: Sure. I do not            18   see that the administrative headquarters --
     19        know the figures.                           19   this is in the last paragraph -- of Actavis
     20    QUESTIONS BY MR. MELAMED:                       20   PLC remain at the Morris Corporate Center in
     21        Q. Okay. Same thing with costs              21   Parsippany? Correct?
     22    associated with those drugs?                    22        A. Bottom of page --
     23        A. That's correct, I do not.                23        Q. Bottom of page 2 -- top of the
     24        Q. Okay. And same thing with                24   last paragraph on page 2.
     25    revenues or expenses derived from the           25        A. Principal, Dublin,


                                                                        22 (Pages 85 to 88)
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                                             Page 89                                              Page 90
      1    administrative headquarters located in Morris    1   entity you were in?
      2    Corporate Center III, yes.                       2       A. I don't know.
      3        Q. And that's the same location              3       Q. What did you -- without
      4    where they were located for Actavis, comma,      4   defining it with a name, what did you do at
      5    Inc., correct?                                   5   Watson Pharmaceuticals, Inc., towards the end
      6        A. Actavis, comma, Inc., that is             6   of your time at Watson Pharmaceuticals, Inc.?
      7    correct.                                         7       A. For Watson Pharmaceuticals,
      8        Q. And I believe the same at least           8   comma, Inc., I was the treasurer of the
      9    for some time for Watson Pharmaceuticals; is     9   company.
     10    that correct? Watson Pharmaceuticals, comma,    10       Q. Okay. But you weren't employed
     11    Inc.?                                           11   at Watson Pharmaceuticals, comma, Inc.; is
     12        A. 2012. That -- I don't                    12   that correct?
     13    recollect the date that we moved to that        13       A. That is correct.
     14    facility.                                       14       Q. But you were the treasurer for
     15        Q. But you do recall as an                  15   the entity -- your responsibility as a
     16    employee of Watson Pharmaceuticals, Inc.,       16   treasurer included being a treasurer for the
     17    moving to that facility; is that correct?       17   entity known as Watson Pharmaceuticals,
     18        A. I was not an employee of Watson          18   comma, Inc., correct?
     19    Pharmaceutical, comma, Inc.                     19       A. I provided that service, yes.
     20        Q. What were you?                           20       Q. Watson -- another way of
     21        A. I don't have the specific                21   putting that is Watson Pharmaceuticals,
     22    entity, but it was not the top parent           22   comma, Inc., did not have its own treasurer
     23    company.                                        23   employed as an employee of Watson
     24        Q. What was your role at Watson             24   Pharmaceuticals, comma, Inc., correct?
     25    Pharmaceuticals? At the sub -- whatever         25       A. That is correct.


                                             Page 91                                              Page 92
      1        Q. Turn to page 1 of the fiscal              1       Q. Okay. And no other entity
      2    year 2014 10-K.                                  2   aside of Actavis PLC had any ownership
      3             Do you see in the bottom                3   interest in or ability to direct the actions
      4    paragraph it references a definitive             4   of the company Actavis, comma, Inc.,
      5    agreement between Actavis PLC and Allergan,      5   subsequent to the merger?
      6    Incorporated, under which Actavis PLC will       6       A. Not sure what you mean by
      7    acquire Allergan --                              7   "direct."
      8        A. Yes.                                      8       Q. All of the shares from Actavis,
      9        Q. You see that, correct?                    9   comma, Inc., converted to shares of --
     10        A. I do.                                    10       A. That is --
     11        Q. And it's subsequent to that              11       Q. -- Actavis PLC, correct?
     12    acquisition that the name Actavis PLC became    12       A. That is correct.
     13    Allergan PLC, correct?                          13            (Allergan-Kaufhold Exhibit 13
     14        A. That is correct.                         14       marked for identification.)
     15        Q. Allergan PLC is the successor            15   QUESTIONS BY MR. MELAMED:
     16    in interest to Actavis PLC; is that correct?    16       Q. Okay. You can put that aside.
     17        A. Correct.                                 17            I'm handing you what's been
     18        Q. Just -- and Actavis PLC is the           18   marked Exhibit 13, which is the 2015 Form
     19    successor in interest to Actavis, comma,        19   10-K for Allergan PLC. And if you turn to
     20    Inc., correct?                                  20   page 3.
     21        A. That -- again, the legal                 21            So in the bottom paragraph
     22    terminology. Actavis PLC was -- again, there    22   describes the master purchase agreement
     23    was the share-for-share exchange of Actavis,    23   entered into on July 26, 2015, by Allergan
     24    comma, Inc., and Warner Chilcott PLC into       24   PLC and Teva Pharmaceutical Industries
     25    shares of Actavis PLC.                          25   Limited, correct?


                                                                         23 (Pages 89 to 92)
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                                             Page 93                                              Page 94
      1         A. Yes.                                     1   and here "we" is the "financial information
      2        Q. What was Allergan PLC selling             2   and transactions of Watson Pharmaceuticals,
      3    to Teva?                                         3   Inc., prior to January 2013, Actavis, Inc.,
      4        A. It was its generic business.              4   from January 2013 to October 2013, and
      5         Q. Generic opioids business or              5   Allergan PLC and Warner Chilcott Limited,
      6    generic all -- let me ask that as a single       6   subsequent to October 2013.
      7    question.                                        7            You see that, correct,
      8             What kind of generic                    8   regarding "we"?
      9    pharmaceuticals were included in that            9       A. Actavis, comma, Inc., from
     10    transaction?                                    10   January 23, 2013, to October 1, 2013.
     11         A. What was sold was all of the            11       Q. Okay. And the rest of what I
     12    generic business.                               12   said was correct?
     13        Q. Inclusive of, but not limited            13       A. Yes.
     14    to, generic opioids, correct?                   14       Q. Okay. That "we" will receive
     15         A. That is correct.                        15   $33.75 billion in cash and 100.3 million Teva
     16        Q. This master purchase agreement           16   ordinary shares or American depositary
     17    did not include the sale of the Anda            17   shares, correct?
     18    distribution segment; is that correct?          18       A. Yes.
     19         A. The Anda business was sold --           19       Q. Is that what Allergan PLC
     20    it might have been in a separate agreement.     20   received for the sale of its generics
     21         Q. You're just not sure either             21   business to Teva?
     22    way?                                            22       A. At the -- this was, again,
     23         A. What I'm sure of is we do not           23   2015. This had a certain value of the 100
     24    own the business. Teva owns the business.       24   million shares. On the day it closed, the
     25        Q. And page 3 says that "We" --             25   100 million shares would have been valued

                                             Page 95                                              Page 96
      1    something different than what is in this         1        Q. I'm sorry, who's your -- who
      2    agreement.                                       2   are you employed by?
      3        Q. So you did -- Allergan PLC did            3        A. I'm employed by Allergan Sales,
      4    receive approximately $33.75 billion in cash?    4   LLC.
      5        A. That is correct.                          5        Q. And as treasurer of Allergan
      6        Q. And then it received --                   6   Sales, LLC, one of the companies that you
      7        A. Shares.                                   7   provide services to, that you are treasurer
      8        Q. -- some -- some body of                   8   for, is Allergan PLC, correct?
      9    approximately 100 million shares, give or        9        A. That is correct.
     10    take, depending on the current value of the     10        Q. Do you know whether the
     11    shares?                                         11   $33.75 billion went on to Allergan PLC's
     12        A. Exactly.                                 12   financial statements?
     13        Q. Where did that money get -- on           13        A. It went on its consolidated
     14    whose financial statements were the             14   financial statements.
     15    $33.75 billion in cash recorded?                15        Q. Do you know what happened to
     16        A. Would have been recorded --              16   that money --
     17    again, I don't have that direct knowledge.      17        A. Yes.
     18        Q. You were the treasurer --                18        Q. -- how it derived through --
     19    currently your job is as treasurer, correct?    19   how it made its way through the organization,
     20        A. Yes.                                     20   if it did?
     21        Q. And you're treasurer of --               21        A. Yes.
     22    what's the name of the company? It's            22        Q. What happened to the
     23    Allergan...                                     23   $33.75 billion?
     24        A. I'm treasurer of several legal           24        A. When we received the company,
     25    entities in the Allergan group of companies.    25   some of it, approximately $6.2 billion, went


                                                                        24 (Pages 93 to 96)
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                                             Page 97                                              Page 98
      1    to -- would have been called Actavis Capital     1   Inc., that was sold have any -- itself have
      2    S.a.r.l., okay, where we had debt                2   any employees?
      3    outstanding. We paid off approximately           3       A. Actavis Holdco US, comma, Inc.,
      4    6.2 billion of term loans, so the proceeds       4   no.
      5    went there.                                      5       Q. Did -- and if you look up the
      6              A portion of the proceeds also         6   chart, there's an entity called Actavis
      7    went to, I believe it would have been, the       7   Capital S.a.r.l., S-a-r-l?
      8    Holdco, which was the owner, who had its net     8       A. Yes.
      9    investment in the group that we sold to Teva.    9       Q. Is that the entity to which you
     10         Q. What was the owner of the               10   said approximately $6 billion --
     11    hold -- what was the Holdco that sold the       11       A. That is correct.
     12    generics entities?                              12       Q. Did Actavis Capital S.a.r.l.
     13         A. In regard to the August 2,              13   have any employees at that point in time?
     14    2016, org chart, page 2 of 6 -- and again,      14       A. It did not.
     15    this is MDL03674502. If you go to page 2,       15       Q. If you want to go to the front
     16    you see the top box that's in yellow, Actavis   16   page just -- of the same exhibit, which is
     17    Holdco US, that was sold to Teva.               17   ALLERGAN_MDL_03674501.
     18              It's direct parent was Allergan       18       A. Yes.
     19    Holdco US, comma, Inc. So a portion, a          19       Q. As of August 2, 2016, do you
     20    majority of the funds, went to that entity.     20   know how many, approximately how many,
     21         Q. At that point in time did               21   employees Allergan PLC had in its Irish
     22    Allergan Holdco US, comma, Inc., have any       22   office?
     23    employees?                                      23       A. Allergan PLC has no employees.
     24         A. No, it did not.                         24       Q. Today does Allergan PLC have no
     25         Q. Did Actavis Holdco US, comma,           25   employees?

                                             Page 99                                             Page 100
      1        A. No employees.                             1       A. No.
      2        Q. Has Allergan PLC ever had                 2       Q. What about Actavis Ireland
      3    employees?                                       3   Holding, Limited, over to the left?
      4        A. That is possible.                         4       A. No.
      5        Q. Possible but you're not sure?             5       Q. Zero employees?
      6        A. I'm not sure.                             6       A. Zero employees.
      7        Q. What about Warner Chilcott PLC,           7       Q. What about Actavis Capital
      8    the entity that reported -- according to this    8   S.a r.l.? I believe we just covered that on
      9    organizational chart, the entity that            9   the other sheet.
     10    reported directly up to Allergan PLC, did it    10       A. Yes.
     11    have any employees? Sorry, just --              11       Q. Zero employees?
     12        A. I don't know.                            12       A. Zero employees.
     13        Q. Does it currently have any               13       Q. What about Actavis WC Holding,
     14    employees?                                      14   Incorporated?
     15        A. It does not.                             15       A. I do not know.
     16        Q. What about Warner Chilcott               16       Q. Okay. Does it exist currently,
     17    Limited, Bermuda?                               17   as of today?
     18        A. No employees.                            18       A. Actavis WC? Actavis WC
     19        Q. Never?                                   19   Holdings today -- do you have -- I would need
     20        A. Never.                                   20   the chart.
     21        Q. What about Warner Chilcott               21            MS. LEVY: Just -- you can say
     22    Holdings Company II, Limited?                   22       if you know and what you would need to
     23        A. No.                                      23       know.
     24        Q. What about Warner Chilcott               24            THE WITNESS: I don't know.
     25    Holdings Company III, Limited?                  25


                                                                      25 (Pages 97 to 100)
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                                           Page 101                                              Page 102
      1    QUESTIONS BY MR. MELAMED:                        1       A. I don't have that information.
      2        Q. As of 2016 you don't know, and            2       Q. Do you know whether they have
      3    as of 2018, without looking at another           3   employees today?
      4    document, you don't know?                        4       A. I don't have that information.
      5        A. That's correct.                           5       Q. Go back to the FY 15 -- fiscal
      6        Q. What about Allergan Finance,              6   year 15 Allergan PLC 10-K and turn to page 4.
      7    LLC, formerly known as Actavis, no comma,        7            Under business overview, do you
      8    Inc.?                                            8   see that?
      9        A. Actavis --                                9       A. I do.
     10        Q. We're still on the page ending           10       Q. Do you see that Allergan PLC
     11    501.                                            11   describes itself as a global specialty
     12        A. Okay.                                    12   pharmaceutical company engaged in the
     13        Q. And it's a dark blue box.                13   development, manufacturing, marketing and
     14        A. Yeah.                                    14   distribution of brand name pharmaceutical
     15        Q. As of 2016, did Allergan                 15   products, brand, branded or specialty brand,
     16    Finance, LLC, formerly known as Actavis, no     16   medical aesthetics, biosimilar and
     17    comma, Inc., have any employees?                17   over-the-counter pharmaceutical products?
     18        A. I do not know.                           18       A. Yes.
     19        Q. Who would I ask to figure that           19       Q. Did that engagement include the
     20    out?                                            20   development, manufacturing, marketing or
     21        A. I wouldn't know the person.              21   distribution of any brand name opioids?
     22        Q. Did Allergan, comma, Inc.,               22       A. Yes.
     23    direct -- directly below the entity we were     23       Q. And at this point in time prior
     24    just talking about have any employees in        24   to the closing of the deal with Teva, did
     25    2016?                                           25   that development, manufacturing and


                                           Page 103                                              Page 104
      1    marketing -- I'm sorry, development,             1        A. I just need to take a look at
      2    manufacturing, marketing and distribution        2   the list to see who changed.
      3    include generic opioid products?                 3             Do you know what page that is?
      4        A. Prior to the close of the                 4        Q. See if I can help you out in a
      5    generic sale, it would have included.            5   second.
      6        Q. If you look at the bottom                 6             You can look at the signature
      7    paragraph on page 4, it states that "Allergan    7   page on page 106. It lists -- we can just
      8    PLC's principal executive offices are located    8   talk about the four officers listed there.
      9    in Dublin, Ireland, and our administrative       9        A. Page...
     10    headquarters are located at the Morris          10        Q. Actually, let me make sure
     11    Corporate Center III in Parsippany, New         11   that's the correct page.
     12    Jersey," correct?                               12             MS. LEVY: Is this the PDF?
     13        A. Yes.                                     13             MR. MELAMED: It's page 106.
     14        Q. Where did Allergan PLC's                 14        In the middle of the bottom of the
     15    executives have their office?                   15        page is 106.
     16        A. Allergan PLC had no employees.           16             THE WITNESS: Got it. Okay.
     17        Q. Allergan PLC did not have any            17   QUESTIONS BY MR. MELAMED:
     18    executives, executive officers?                 18        Q. And it lists the executives.
     19        A. It had executive -- people who           19   It list four executives on this page: Paul
     20    served in a role of executive officers.         20   Bisaro, Brenton Saunders, Maria Teresa Hilado
     21        Q. And they're listed in the K,             21   and James -- I'm sorry --
     22    correct?                                        22        A. James D'Arecca.
     23        A. They are listed in the K.                23        Q. D'Arecca. Thank you.
     24        Q. Where did those individuals              24        A. These four officers worked from
     25    maintain their offices?                         25   the administrative offices.


                                                                     26 (Pages 101 to 104)
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                                            Page 105                                             Page 106
      1        Q. In Parsippany?                            1       marked for identification.)
      2        A. In Parsippany.                            2   QUESTIONS BY MR. MELAMED:
      3        Q. As in past years, certain of              3       Q. I'm going to hand you what I'm
      4    the revenues reported by Allergan PLC in this    4   marking as Exhibit 14, which is the Form 10-K
      5    fiscal year 10-K would reflect sales of brand    5   for the fiscal year ended 2017 for Allergan
      6    opioids, correct?                                6   PLC.
      7        A. It would reflect the                      7            If you turn to page 3, you'll
      8    consolidated revenues from the brand opioids.    8   see under the company history we have the
      9        Q. And certain of the revenues for           9   same accounting of the company history as has
     10    the global generics business would reflect --   10   been told in prior 10-Ks, correct?
     11    prior to the sale of the generic opioid         11       A. Correct.
     12    business to Teva --                             12       Q. The one change being that
     13        A. It would include the                     13   Actavis, comma, Inc., is now known as
     14    consolidated revenues, yes.                     14   Allergan Finance, LLC, correct?
     15        Q. Okay. And similarly, expenses            15            It's in the first paragraph
     16    for generic opioids would be reflected in the   16   under company history. Oh, you're checking
     17    financial statements for the global generics    17   to see if there was a change.
     18    business, correct?                              18       A. Yeah, I just wanted to see the
     19        A. The consolidated expenses, yes.          19   name change. That is correct.
     20        Q. And the brand expenses would             20       Q. Okay. So the name change
     21    reflect -- the consolidated expenses would      21   from --
     22    reflect expenses on brand name Kadian,          22       A. From Actavis, Inc., to Allergan
     23    correct?                                        23   Finance, comma, LLC.
     24        A. That's correct.                          24       Q. That's from Actavis, comma,
     25             (Allergan-Kaufhold Exhibit 14          25   Inc., correct?


                                            Page 107                                             Page 108
      1        A. That is correct.                          1   not go to Allergan PLC?
      2        Q. Okay. So that occurred during             2       A. Because Allergan PLC -- there's
      3    the fiscal year -- sometime in the fiscal        3   no large cash balances being maintained at
      4    year of 2017?                                    4   Allergan PLC, just sufficient cash to pay the
      5        A. That would be correct. '17 --             5   expenses of maintaining that entity.
      6    this is the financials as of '17. That would     6       Q. When Actavis, comma, Inc., and
      7    be correct, yes.                                 7   Warner Chilcott merged and became Actavis
      8        Q. So just to be clear, Allergan             8   PLC, Actavis, comma, Inc., was the larger
      9    Finance, comma, LLC, is what was formerly        9   company, correct?
     10    known as Actavis, Inc. -- comma, Inc.,          10       A. That is correct.
     11    correct?                                        11       Q. And Actavis, comma, Inc., at
     12        A. That is correct.                         12   that point was incorporated in the United
     13        Q. If you turn to page 4, the top           13   States, correct?
     14    paragraph addresses the sale of the Anda        14       A. Actavis, comma, Inc., was
     15    distribution business at Teva which we          15   incorporated in the US, yes.
     16    alluded to before --                            16       Q. Why did the company formed to
     17        A. Yes.                                     17   effectuate that merger, Actavis PLC,
     18        Q. -- but you see that it sold for          18   incorporate in Ireland?
     19    $500 million, correct?                          19       A. We were acquiring a PLC company
     20        A. Correct.                                 20   which was based in Ireland, and a decision
     21        Q. Where did that $500 million go?          21   was made to be an Irish company.
     22        A. I don't -- off the top of my             22       Q. What was -- what were the
     23    head, I'm not sure where that went, but it      23   considerations that drove that decision, the
     24    did not go to Allergan PLC.                     24   primary considerations that drove that
     25        Q. Why are you sure that it did             25   decision?


                                                                     27 (Pages 105 to 108)
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                                           Page 109                                              Page 110
      1        A. I, again, was not part of those           1   people, so that would probably also have been
      2    discussions.                                     2   part of the decision as well.
      3         Q. Have you seen anything reported          3        Q. Did Actavis, comma, Inc., have
      4    publicly on those discussions?                   4   manufacturing facilities in the United States
      5        A. Well, there was being reported            5   at the time of the merger?
      6    at the time or afterwards, again, with           6        A. They had some of their
      7    inversions --                                    7   manufacturing in the US.
      8         Q. What --                                  8        Q. And did those manufacturing
      9        A. -- companies redomiciling for             9   facilities employ a lot of people?
     10    tax reasons.                                    10        A. They -- well, I don't know what
     11         Q. So the tax liability for                11   you mean by "a lot."
     12    incorporating in Ireland would be less than     12        Q. I'm just using the language you
     13    it would have been had the company              13   used when you talked about the Irish
     14    incorporated in the United States?              14   manufacturing facilities.
     15         A. It would be a lower effective           15        A. Okay.
     16    tax rate.                                       16        Q. You said it employed a lot of
     17         Q. And is that what you understand         17   people. I think --
     18    to be the primary reason that the merge --      18        A. I said there were significant
     19    the company created to effectuate that merger   19   manufacturing since some of the larger
     20    was incorporated in Ireland?                    20   products of Warner Chilcott were being
     21         A. I don't know if that was the            21   manufactured out of Ireland.
     22    primary reason. It was probably one of the      22        Q. Do you know as you sit here
     23    reasons.                                        23   today whether there were more employees of
     24              Warner Chilcott had extensive         24   Aller -- I'm sorry, Actavis, comma, Inc.'s,
     25    manufacturing facilities in Ireland employing   25   American manufacturing facilities or more

                                           Page 111                                              Page 112
      1    employees of Warner Chilcott PLC's Irish         1   QUESTIONS BY MR. MELAMED:
      2    manufacturing facilities?                        2        Q. Handing you what's been marked
      3         A. Rephrase the part about                  3   as Exhibit 15, which is an article from
      4    Actavis' manufacturing facilities.               4   Fortune magazine dated May 21, 2013, titled
      5         Q. I just want to know if, as you           5   "Actavis, the latest Fortune 500 Company to
      6    sit here today, do you know whether there        6   quote, leave, unquote, the US for tax
      7    were more employees of manufacturing             7   reasons."
      8    facilities in the US or in Irish -- in           8             MS. LEVY: Can you give him a
      9    Irish -- in Ireland of the combined two          9        minute to review the document?
     10    companies.                                      10             MR. MELAMED: Sure.
     11         A. I don't have those numbers.             11             MS. LEVY: You can ask your
     12         Q. Do you have reason to think one         12        questions then.
     13    or the other, as you sit here today, without    13             MR. MELAMED: Yeah, I'll direct
     14    being exact?                                    14        him if I have specific questions, but
     15         A. Without being exact, I would            15        I'm happy to give him...
     16    think when you look at the global               16             THE WITNESS: Okay.
     17    manufacturing facilities of Actavis, if you     17   QUESTIONS BY MR. MELAMED:
     18    look at the US portion, probably they were      18        Q. This article, or at least the
     19    greater than Warner Chilcott Ireland's          19   title of the article, reflects what you were
     20    facility.                                       20   talking about before, that it was at least --
     21         Q. You can put that 10-K aside.            21   the tax reasons played at least some part in
     22         A. Sure.                                   22   the decision to -- to undergo a corporate
     23              (Allergan-Kaufhold Exhibit 15         23   inversion, correct?
     24         marked for identification.)                24        A. That's what I said.
     25                                                    25        Q. Is it correct that the title


                                                                    28 (Pages 109 to 112)
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                                           Page 113                                             Page 114
      1    reflects that reason?                            1   quotes around the word "leave," to imply that
      2             MS. LEVY: Object to the form.           2   the company did not actually leave the US?
      3              THE WITNESS: Again, I didn't           3             MS. LEVY: I'm going to object
      4        write this article. I don't know             4        to the question to the extent that
      5        what's in the author's head.                 5        you're calling for him to speculate
      6    QUESTIONS BY MR. MELAMED:                        6        about this article.
      7        Q. Just asking you to read -- as a           7   QUESTIONS BY MR. MELAMED:
      8    treasurer of a -- who has treasury               8        Q. You can answer based on being a
      9    experience, responsibility for the successor     9   reader and a treasurer of the company.
     10    of the company being spoken about.              10        A. Can you rephrase that question
     11             MS. LEVY: What's the question?         11   then? Or restate -- or repeat it, please?
     12    QUESTIONS BY MR. MELAMED:                       12        Q. So as the treasurer who
     13        Q. Does the title reflect what you          13   provides services to the company being
     14    were saying before, that one of the reasons     14   discussed -- you do provide treasurer
     15    that Actavis chose to incorporate the merged    15   services to the company being discussed; is
     16    company in Ireland instead of the US was for    16   that correct?
     17    tax reasons?                                    17        A. Correct.
     18        A. As part of our -- yes, as part           18        Q. Okay. And in that role, with
     19    of our fiduciary responsibility.                19   your body of experience as you read the
     20        Q. Okay. So the title is -- of              20   title, do you understand the title to imply
     21    this article, by use of the quotes around       21   that the company -- that the author is saying
     22    leave, is suggesting that -- do you             22   the company was not leaving the US?
     23    understand the title of this article --         23             MS. LEVY: Object to form.
     24        A. Yes.                                     24        That's an improper question, and it's
     25        Q. -- by using the quote -- the             25        been asked and answered.

                                           Page 115                                             Page 116
      1             You can answer again.                   1   testimony before, that the execu -- the top
      2             THE WITNESS: Again, I don't             2   executives of Actavis PLC remained in New
      3         know what is meant by -- what the           3   Jersey, correct?
      4         quotes or what it means. Leaves.            4       A. They work in the administrative
      5    QUESTIONS BY MR. MELAMED:                        5   offices in New Jersey. That part I agree
      6         Q. Okay. You don't have an                  6   with.
      7    understanding of what you think he means to      7       Q. You don't agree that everybody
      8    intend by those quotes?                          8   loves New Jersey too much?
      9         A. Exactly.                                 9       A. No. What it says is, "CEO Paul
     10             MS. LEVY: Same objection.              10   Bisaro will continue to live and work in New
     11    QUESTIONS BY MR. MELAMED:                       11   Jersey." He worked in the administrative
     12         Q. And you see at the end of the           12   headquarters of Actavis in Parsippany.
     13    first paragraph of the article and then the     13       Q. And Mr. Saunders is currently
     14    one-sentence -- second paragraph -- statement   14   the CEO of the sub -- the successor in
     15    from the author: "This despite the fact that    15   interest Allergan PLC, correct?
     16    the company's top executives, including CEO     16       A. He is the CEO, president, of
     17    Paul Bisaro, will continue to live and work     17   Allergan PLC.
     18    in New Jersey."                                 18       Q. And he also continues to work
     19             And then the article purports          19   in New Jersey, correct?
     20    to quote Bisaro, who says, "'Everybody loves    20       A. He works in the administrative
     21    New Jersey too much, and nobody is willing to   21   offices, yes.
     22    go,' he said on a conference call yesterday."   22       Q. And you -- the company has
     23             Do you see that?                       23   moved its administrative offices to Madison,
     24         A. I see that.                             24   New Jersey; is that correct?
     25         Q. And that's consistent with your         25       A. That is correct.


                                                                    29 (Pages 113 to 116)
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                                            Page 117                                            Page 118
      1        Q. And it is in the process of               1   and work?
      2    consolidating offices from other locations in    2       A. Again, to where he lives, I
      3    New Jersey; is that correct?                     3   think he lives in Connecticut.
      4        A. It has consolidated Parsippany,           4            Work, I believe he has -- he
      5    Rockaway, Jersey City, since the facility in     5   has an office in the administrative
      6    Parsippany went to Teva.                         6   headquarters.
      7             (Allergan-Kaufhold Exhibit 16           7       Q. Do you know if that's where he
      8        marked for identification.)                  8   primarily works, or you don't know either
      9    QUESTIONS BY MR. MELAMED:                        9   way?
     10        Q. I'm going to hand you what I'm           10       A. I don't know.
     11    marking as Exhibit 16. Exhibit 16 is a          11       Q. The next individual is the
     12    printout of the current executive leadership    12   chief financial -- chief financial officer,
     13    of Allergan PLC taken from the company's        13   Matt Welsh?
     14    website.                                        14       A. Uh-huh.
     15             So we just discussed,                  15       Q. Do you know where Mr. Welsh
     16    Mr. Saunders, Brenton Saunders, works in New    16   works primarily -- where his primary office
     17    Jersey, correct?                                17   is?
     18        A. He works from New Jersey, yes.           18       A. Administrative offices.
     19        Q. You turn the page, William               19       Q. In New Jersey?
     20    Meury -- I'm not sure if I'm saying his last    20       A. In New Jersey.
     21    name --                                         21       Q. Is it currently Madison? We
     22        A. Meury.                                   22   just --
     23        Q. Meury.                                   23       A. Madison, yes.
     24        A. Yes.                                     24       Q. Do you know where he lives?
     25        Q. Where does William Meury live            25       A. I do.

                                            Page 119                                            Page 120
      1        Q. In what state?                            1       Q. Chief communications officer,
      2        A. New Jersey.                               2   Alex Kelly, do you know where he maintains
      3        Q. Do you know where chief legal             3   his principal office?
      4    officer and corporate secretary, A. Robert D.    4       A. Administrative offices in New
      5    Bailey, works, where his primary office is?      5   Jersey.
      6        A. He has an office at the                   6       Q. Executive vice president for
      7    administrative offices.                          7   global operations, Wayne Swanton, do you know
      8        Q. Is that his primary office?               8   where he maintains his principal office?
      9        A. That is his primary office.               9       A. Administrative offices in New
     10        Q. Okay. And that's the                     10   Jersey.
     11    administrative offices in New Jersey,           11       Q. You can put that aside.
     12    correct?                                        12            Where do you maintain your
     13        A. Correct.                                 13   principal office?
     14        Q. Chief human resources officer            14       A. New Jersey.
     15    Karen Ling, do you know where she maintains     15       Q. Same -- same office building --
     16    her primary office?                             16       A. Yes.
     17        A. The administrative offices.              17       Q. -- as these individuals?
     18        Q. In New Jersey?                           18       A. Yes.
     19        A. In New Jersey.                           19       Q. Are you on the same floor as
     20        Q. The chief research and                   20   the CEO? Mr. Saunders?
     21    development officer, C. David Nicholson, do     21       A. I am on the fourth floor.
     22    you know where he maintains his principal       22       Q. Is that the executive floor,
     23    office?                                         23   where all the executive offices are?
     24        A. Administrative offices, New              24       A. There are other offices in the
     25    Jersey.                                         25   building. I mean, it's 450,000 square feet,


                                                                     30 (Pages 117 to 120)
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                                            Page 121                                            Page 122
      1    five, six stories, so...                         1           In total, it's 1,300 people,
      2         Q. I'm not trying to be tricky              2   approximately, in that location.
      3    with the question. I understand you're           3       Q. At that location --
      4    trying to be precise, and I appreciate that.     4       A. Five floors.
      5         A. Yeah, I sit within -- I do not           5       Q. There are approximately 1,300
      6    sit in the executive suite.                      6   people in the five floors in Madison, New
      7         Q. Okay. So there's an executive            7   Jersey?
      8    suite where the -- all of the individuals we     8       A. Correct.
      9    just went through sit or most of them sit?       9       Q. How many employees of Allergan
     10         A. They have offices next to each          10   PLC are in Ireland?
     11    other, yes.                                     11           MS. LEVY: Object to the form.
     12         Q. And are you on the same floor?          12           THE WITNESS: Allergan PLC has
     13         A. I am on the fourth floor, yes.          13       no employees.
     14         Q. Okay. How many --                       14   QUESTIONS BY MR. MELAMED:
     15    approximately how many individuals are on the   15       Q. Who is -- who is Mr. Saunders
     16    fourth floor?                                   16   employed by?
     17         A. I don't have that number.               17       A. I don't have that information.
     18         Q. Is it, like, fewer than a               18       Q. Do you know who pays his
     19    hundred? Just trying to get an idea.            19   checks, what corporate entity pays his
     20         A. It's -- again, it's a                   20   checks?
     21    five-story building. You have a cafeteria.      21       A. I would -- it would be ADP.
     22    I mean, it's probably -- probably somewhere     22       Q. Who -- does ADP draw -- who
     23    about 200 to 300 employees.                     23   provides the funding for ADP to provide
     24         Q. In all five floors?                     24   Mr. Saunders his checks; do you know?
     25         A. Five floors.                            25       A. A subsidiary of Allergan.

                                            Page 123                                            Page 124
      1        Q.   What is that subsidiary called?         1        comma, LLC," in parentheses it says
      2        A.   I don't have that name.                 2        "f/k/a Actavis Inc." It should say
      3        Q.   Do you believe -- withdraw              3        "Actavis, comma, Inc."
      4    that.                                            4   QUESTIONS BY MR. MELAMED:
      5             Do you know whether you                 5        Q. Okay. And is that the --
      6    receive -- whether your check's funding comes    6        A. That's correct, that's the dark
      7    from the same subsidiary?                        7   blue box in the middle. You'll see Allergan
      8        A. Yes.                                      8   Finance, LLC. You'll see f/k/a Actavis Inc.
      9        Q. It does come from the same                9   It should say Actavis, comma, Inc.
     10    subsidiary?                                     10        Q. Okay. And that's
     11        A. Yes.                                     11   ALLERGAN_MDL_03674501.
     12             MR. MELAMED: Let's go off the          12        A. That's correct.
     13        record, please.                             13        Q. All right.
     14             THE WITNESS: Sure.                     14        A. And then also during the break
     15             VIDEOGRAPHER: All right. The           15   I did go back. We did look at some of the
     16        time is 2:46 p m. Off the record.           16   org charts that have been provided, and I'll
     17         (Off the record at 2:46 p.m.)              17   just call your attention to MDL_03367301,
     18             VIDEOGRAPHER: We are now on            18   which shows the -- it will show where Actavis
     19        the record. The time 3:02 p m.              19   Group is and Actavis Inc., no comma.
     20             THE WITNESS: Excuse me just            20        Q. Okay. I just want to look for
     21        for a second, Matt.                         21   that for a sec.
     22             Just in regard to this one             22             You said 33601?
     23        exhibit, which is the chart that we         23        A. 67301, correct.
     24        provided, just -- there was a typo on       24             MS. LEVY: It's not in that
     25        here where it says, "Allergan Finance,      25        stack, Matt. It's a previously


                                                                    31 (Pages 121 to 124)
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                                           Page 125                                             Page 126
      1        produced org chart. I have a copy in         1   the investment of the subsidiary that is
      2        my bag if you want to see it.                2   right below that.
      3            You had asked about Actavis              3       Q. What is the subsidiary that is
      4        Group --                                     4   right below it?
      5            MR. MELAMED: Correct.                    5       A. Is Allergan, comma, Inc.
      6            MS. LEVY: -- and he's telling            6       Q. In the -- I believe it's the
      7        you where the answer to --                   7   fiscal year '18 10-K, one of the 10-Ks we
      8            MR. MELAMED: Okay. I was just            8   looked at before, it said "Allergan Finance,
      9        looking -- thank you. I was                  9   LLC, was formerly known as Allergan, comma,
     10        looking -- can I look at that at the        10   Inc."?
     11        next break?                                 11            I'm sorry, let me withdraw
     12            MS. LEVY: Sure.                         12   that.
     13            MR. MELAMED: Thank you.                 13            In one of the Ks we looked at
     14    QUESTIONS BY MR. MELAMED:                       14   before -- and I will look through and find
     15        Q. Where is Allergan Finance, LLC,          15   it. But if you remember, I won't have to.
     16    located? In the world, not in the org chart.    16       A. Sure.
     17        A. In the world is -- that is a US          17       Q. -- the K stated that Allergan
     18    company.                                        18   Finance, LLC, was formerly known as Actavis,
     19        Q. Where is -- where -- does it             19   comma, Inc.?
     20    have -- you said before it has no employees,    20       A. That is correct.
     21    correct?                                        21       Q. Okay. Is also -- let me just
     22        A. It has no employees, no                  22   make sure I understand.
     23    operations.                                     23            It is also -- Allergan Finance,
     24        Q. What is its purpose?                     24   LLC, is also the holding company of Actavis,
     25        A. Is a holding company. It holds           25   comma, Inc.?


                                           Page 127                                             Page 128
      1         A. No.                                      1   products?
      2         Q. I'm sorry. Can you repeat what           2       A. Botox and products that they
      3    it is the holding company of?                    3   were manufacturing at that time, yes.
      4         A. Sure. Allergan Finance, LLC,             4       Q. None of which are opioids,
      5    owns 100 percent of the Allergan, comma, Inc.    5   correct?
      6         Q. Allergan, comma, Inc. Thank              6       A. That is correct.
      7    you.                                             7       Q. So I just want to state what we
      8               Where is Allergan, comma, Inc.,       8   just went through a little more concisely.
      9    located in the world?                            9       A. Sure.
     10         A. US.                                     10       Q. Please correct me if I get it
     11         Q. How many employees does                 11   wrong.
     12    Allergan, comma, Inc., have?                    12       A. Absolutely.
     13         A. I don't have that number.               13       Q. Allergan Finance, LLC, is a
     14         Q. Does it have employees?                 14   holding company that holds 100 percent of the
     15         A. I do not know.                          15   Allergan, comma, Inc., which is the legacy
     16         Q. Do you know the purpose of              16   Allergan entity, correct?
     17    Allergan, comma, Inc.?                          17       A. Correct.
     18         A. Allergan, comma, Inc., is               18       Q. And the legacy Allergan entity
     19    his -- it's the historical Allergan company     19   has at no point that you are aware of been
     20    that was acquired in 2015.                      20   involved in -- in the marketing, production,
     21         Q. So the previously existing              21   sale or any other -- in any other way of
     22    entity that was acquired by Actavis?            22   prescription opioids, correct?
     23         A. Acquired by Actavis PLC.                23       A. That is correct.
     24         Q. Okay. So the company that               24            And thinking about it, Allergan
     25    manufactures Botox and other pharmaceutical     25   Finance, comma, LLC, may have some operating


                                                                     32 (Pages 125 to 128)
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                                            Page 129                                             Page 130
      1    assets, but I -- I don't have that               1        A. Same type of relationship --
      2    information.                                     2   providing treasury functions?
      3        Q. Assets. But you're -- it may              3        Q. That you are the treasurer for
      4    have assets, but you are sure that it does       4   both companies, but you are not employed by
      5    not have employees?                              5   either, correct?
      6        A. That is correct.                          6        A. Correct.
      7        Q. How are you -- is there                   7        Q. What other companies are you
      8    something about the org chart that shows you     8   treasurer for?
      9    it does not have employees?                      9        A. There are numerous US
     10        A. No, it does not.                         10   companies. I don't have the list of names.
     11        Q. Okay.                                    11        Q. Who are the officers of
     12        A. Doesn't show on the chart.               12   Allergan Finance, LLC?
     13        Q. It's just something you know             13        A. We have it listed on the grid
     14    independently?                                  14   that we provided on page 12. We list the
     15        A. Yes.                                     15   Allergan Finance, comma, LLC, officers.
     16        Q. Are you the treasurer of                 16        Q. Is that what's reflected
     17    Allergan Finance, LLC?                          17   currently on the screen?
     18        A. I am the treasurer, yes.                 18        A. That is correct.
     19        Q. But you do not work for                  19        Q. Is this at a particular point
     20    Allergan Finance, LLC, correct?                 20   in time? Is this -- let me withdraw that.
     21        A. That is correct.                         21             Is this the current list of
     22        Q. You have a similar relationship          22   officers?
     23    vis-à-vis your job as treasurer with Allergan   23        A. Yes, it is.
     24    Finance, LLC, as you do with Allergan PLC,      24        Q. Is this list of officers also
     25    correct?                                        25   the list of officers of Allergan, comma,

                                            Page 131                                             Page 132
      1    Inc.?                                            1   subsidiaries?
      2         A. I don't have that information.           2       A. Sure. And I'll just bring back
      3         Q. Okay. You, however, are an               3   out this sheet here, which is the branded
      4    officer of Allergan Finance, LLC, correct?       4   opioids.
      5         A. Correct.                                 5       Q. The Norco and Kadian?
      6         Q. Because Allergan Finance, LLC,           6       A. Norco and Kadian.
      7    is a holding company, it has no -- let me        7            So when you look at, for
      8    withdraw that.                                   8   example -- you look at sales, currently
      9             Allergan Finance, LLC, you              9   they're being sold by Allergan USA, comma,
     10    testified, is a holding company, correct?       10   Inc., which is a subsidiary of Allergan,
     11         A. I said it was a holding company         11   comma, Inc., which is a subsidiary of
     12    owning 100 percent. Then I corrected by         12   Allergan Finance, comma, LLC.
     13    saying it may have some operating assets.       13       Q. Okay. I thought before you
     14         Q. Do you know if any of the               14   testified that Allergan, comma, Inc., was the
     15    operating assets have anything to do with       15   legacy Allergan business.
     16    opioids?                                        16       A. Say it again, please.
     17         A. Sub -- could you repeat that            17       Q. I thought -- I just want you to
     18    question, please?                               18   help me clarify.
     19         Q. Do any of Allergan Finance --           19       A. Sure.
     20    does Allergan Finance, LLC, have any            20       Q. My understanding of what you
     21    involvement with opioid products?               21   testified to before is that Allergan, comma,
     22         A. Through an indirect                     22   Inc., was the legacy Allergan business and,
     23    relationship of subsidiaries.                   23   as such, had nothing to do with opioids.
     24         Q. What is -- can you walk me              24       A. Allergan, comma, Inc., per the
     25    through that indirect relationship of           25   chart on 6 -- and again, I stand corrected on


                                                                    33 (Pages 129 to 132)
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                                           Page 133                                             Page 134
      1    that -- do some corporate reorganization.       1            And then if -- on this chart
      2    Allergan Sales, comma, LLC, is the entity       2   here -- where is Allergan Sales USA? If you
      3    that is currently selling the Norco product     3   now come back a little and -- you'll see a
      4    and is also the entity that is selling the      4   company right next to Allergan Sales, comma,
      5    Kadian product, the brand product.              5   LLC, Allergan Specialty Therapeutics, comma,
      6        Q. On 6 you're referring to --              6   Inc.
      7        A. Page 6.                                  7       Q. Uh-huh.
      8        Q. -- the Bates number that ends            8       A. Right below that is an entity
      9    506?                                            9   called Allergan USA, comma, Inc.
     10        A. 506.                                    10       Q. Uh-huh.
     11        Q. Okay.                                   11       A. That is where the sales, the
     12        A. If you look towards the top,            12   revenue, is booked for Norco as well as for
     13    you see Allergan PLC, Allergan, comma, Inc.    13   Kadian.
     14             If you go to your left, you           14       Q. And does Allergan USA, comma,
     15    will -- you'll see -- okay. Hold on for one    15   Inc., have any employees?
     16    second. Okay. There's two entities, okay?      16       A. I believe not, no.
     17    And let's be specific here.                    17       Q. And then that revenue that's
     18             Allergan Sales, comma, LLC,           18   booked at Allergan USA, comma, Inc., for the
     19    which is the entity that you see at the far    19   sale of Kadian and Norco rolls up into the
     20    right -- okay?                                 20   consolidated financial statements of Allergan
     21        Q. Far right up here?                      21   PLC?
     22        A. Yes.                                    22       A. That would be correct, yes.
     23        Q. Okay.                                   23       Q. Which also has no employees?
     24        A. Okay? That holds the IP, okay,          24       A. That is correct.
     25    the ANDA in Kadian, okay?                      25       Q. In what division do people who


                                           Page 135                                             Page 136
      1   actually sell Kadian and Norco work?             1   one?
      2       A. What division?                            2        A. Which one, yes.
      3       Q. What entity, on this sheet or             3        Q. At some point Kadian was
      4   any other sheet, do the individuals who sell     4   marketed and detailed to physicians and other
      5   Kadian or Norco work?                            5   health care professionals, are you aware of
      6            MS. LEVY: Object to the form.           6   that?
      7            THE WITNESS: I don't know who           7             MS. LEVY: Objection. This is
      8       they're employed by.                         8       beyond the scope of what this witness
      9   QUESTIONS BY MR. MELAMED:                        9        has been proffered on.
     10       Q. Do you know what -- prior to             10             But you may answer.
     11   the sale of the generic opioid products, do     11             THE WITNESS: I would assume.
     12   you know what entity at Allergan employed the   12        I have no direct knowledge.
     13   individuals who marketed those generic drugs    13   QUESTIONS BY MR. MELAMED:
     14   to distributors and pharmacies?                 14        Q. Okay. So you have been offered
     15            MS. LEVY: Object to the form.          15   to talk about the corporate structure
     16            THE WITNESS: I do not.                 16   relating to opioids generally, correctly --
     17   QUESTIONS BY MR. MELAMED:                       17   correct?
     18       Q. Do you know if there was                 18        A. Correct.
     19   anybody employed anywhere within Allergan PLC   19        Q. Okay. I'm going to represent
     20   who fulfilled that role?                        20   to you, and you can just object again, that
     21       A. Within PLC, the answer is no.            21   at some point in the past Kadian was marketed
     22       Q. At any subsidiary to PLC?                22   and detailed to physicians and other health
     23       A. They would be in some                    23   care providers. With that -- let me withdraw
     24   subsidiary.                                     24   that last phrase.
     25       Q. You're just unaware of which             25             Do you know which entity within


                                                                    34 (Pages 133 to 136)
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                                            Page 137                                             Page 138
      1    the org chart is an entity where anyone who      1            MR. MELAMED: I just want to
      2    marketed Kadian or detailed Kadian to            2       clarify. I think you are -- is it
      3    physicians worked?                               3       true that he was offered to talk about
      4        A. I do not.                                 4       corporation -- the organization of the
      5        Q. What about Norco?                         5       corporation and -- vis-à-vis opioids?
      6        A. I do not.                                 6            MS. LEVY: This witness is
      7        Q. What about generic opioids                7       offered on the three topics that we've
      8    prior to the sale of -- to Teva?                 8       offered him on. You know what they
      9        A. I do not.                                 9       are.
     10        Q. Do you know what entity in this          10            MR. MELAMED: Okay. So I'll
     11    org chart or any other org chart employed the   11       reask the question. You can object,
     12    individuals who worked on regulatory issues     12       and then I'd like you to answer.
     13    concerning opioids?                             13   QUESTIONS BY MR. MELAMED:
     14        A. I do not.                                14       Q. What Allergan PLC entity works
     15        Q. Do you know which entity, if             15   on issues related to suspicious monitoring of
     16    any, within this org chart, or any other        16   the sales of Allergan's opioids?
     17    employed individuals who worked in the          17            MS. LEVY: Objection. Beyond
     18    suspicious -- the monitoring of suspicious      18       the scope of what this witness has
     19    sales of opioids?                               19       been offered to testify about.
     20             MS. LEVY: Objection, again, to         20            As you know, Counsel, we have
     21        this line of questioning. Beyond the        21       other corporate representatives who
     22        scope of what this witness is offered       22       have been designated to testify about
     23        for, and we have other corporate reps       23       that topic.
     24        who have been offered to testify about      24            THE WITNESS: I do not know.
     25        these subjects.                             25


                                            Page 139                                             Page 140
      1   QUESTIONS BY MR. MELAMED:                         1   finance functions as well, too.
      2       Q. You previously testified that              2       Q. What other finance -- are all
      3   there are approximately 1,300 people who work     3   the finance functions for the entirety of
      4   in the Madison, New Jersey, administrative        4   Allergan PLC within the Allergan Sales, LLC,
      5   headquarters of Allergan PLC?                     5   entity?
      6       A. Approximately.                             6       A. Rephrase that, please?
      7       Q. Who employs those individuals?             7       Q. You said -- I -- it was an
      8       A. I do not know.                             8   inartfully phrased question. I'm trying to
      9       Q. You said you're employed by                9   follow up on what your testimony was.
     10   Allergan Sales, LLC, correct?                    10       A. Sure.
     11       A. That is correct.                          11       Q. You testified you would also
     12       Q. Do you know who employs the               12   know about the entity that employs the
     13   executives of Allergan PLC?                      13   Allergan Finance group; is that true?
     14       A. I do not know.                            14       A. To clarify, the Allergan
     15       Q. Do you know who employs anybody           15   Finance group that works in the US at
     16   else in the building?                            16   Madison, New Jersey.
     17            Without naming anybody, do you          17       Q. Okay. Who employs them?
     18   know who employs anybody else in the building    18       A. Allergan Sales, LLC.
     19   at Madison -- in Madison?                        19       Q. Okay. Do you know any other
     20       A. Well, certain groups, yes.                20   entities who employ individuals who work at
     21       Q. What groups?                              21   the Madison, New Jersey, location?
     22       A. Well, for example, people who             22       A. I do not.
     23   report to me as part of the treasury             23       Q. Approximately how many
     24   function, they would also be employees of        24   employees does Allergan Sales, LLC, have?
     25   Allergan Sales, LLC. Same with the other         25       A. I do not know.


                                                                    35 (Pages 137 to 140)
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                                           Page 141                                              Page 142
      1         Q. About how many employees are in          1   QUESTIONS BY MR. MELAMED:
      2    the treasury function of Allergan Sales, LLC?    2       Q. Feel free to clarify.
      3         A. Including myself and my admin,           3       A. Right. The question was, which
      4    it's eight people in treasury.                   4   entity paid that.
      5         Q. About how many people are                5            I don't recollect or have that
      6    employed in the finance group in Madison of      6   information readily, which entity that is,
      7    Allergan Sales, LLC?                             7   considering the number of legal entities that
      8         A. Well, not -- the finance                 8   we have.
      9    function -- who are hired by Allergan Sales,     9       Q. Do you know which entity signs
     10    LLC, is probably somewhere 200 to 200 -- I      10   that paycheck?
     11    would say about 200 people.                     11       A. I -- again, it's mostly all
     12         Q. And you said they were hired by         12   direct deposits. I don't even know if
     13    Allergan Sales, LLC.                            13   there's a signature on the check.
     14              Can you clarify what you mean,        14       Q. But when you get your W-2, it's
     15    why you said "hired"?                           15   from Allergan Sales, LLC?
     16         A. Well, they are on the payroll           16       A. That is correct.
     17    of Allergan Sales, LLC, so when I get my        17       Q. Do you know if that is true of
     18    check, when I get my W-2 at the end of the      18   the executive officers, that their W-2s would
     19    year, it says "Allergan Sales, LLC."            19   reflect salaries earned from Allergan Sales,
     20         Q. You testified before that you           20   LLC?
     21    weren't sure whose funds were used when ADP     21       A. I don't know that.
     22    processed your paycheck.                        22       Q. Do you have any reason to
     23              Do you remember that?                 23   believe it's any different?
     24              MS. LEVY: Objection to                24       A. It would only be an assumption
     25         mischaracterization.                       25   on my part.

                                           Page 143                                              Page 144
      1          Q. You have no idea either way.            1        Q. Has anybody told you to retain
      2     You just --                                     2   all documents related to some category of
      3          A. I have no idea.                         3   information concerning the MDL litigation?
      4          Q. I asked you before about a              4        A. We get document, you know, hold
      5     litigation hold pertaining to the City of       5   requests coming in from legal, and we
      6     Chicago case. Do you remember that?             6   certainly abide by those requests, but I
      7          A. Yes.                                    7   can't list out for you here the -- here are
      8          Q. And you said you didn't                 8   all the requests that we received in the last
      9     remember a litigation hold for that case,       9   couple of years.
     10     correct?                                       10        Q. So you just aren't sure either
     11          A. That's correct.                        11   way whether you received one pertaining to
     12          Q. It may have been issued, it may        12   any of the cases in the MDL?
     13     not, you just don't have a --                  13        A. That's what I said.
     14          A. Exactly.                               14             (Allergan-Kaufhold Exhibit 17
     15          Q. Do you have a memory of a              15        marked for identification.)
     16     litigation hold being issued pertaining to     16   QUESTIONS BY MR. MELAMED:
     17     any case in the MDL?                           17        Q. I'm going to hand you what I've
     18          A. I -- not specifically.                 18   marked as Exhibit 17. It's an e-mail chain,
     19          Q. Do you know that one has been          19   the most recent in time from Joel Trugman to
     20     issued?                                        20   Tara Brolly, cc'ing others. The Bates number
     21          A. Not specifically. It doesn't           21   is ALLERGAN_MDL_01335569.
     22     mean it has been.                              22             First, I want to draw your
     23          Q. Okay. Understood. I'm just             23   attention to the signature block of Mr. --
     24     trying to understand.                          24   Dr. Trugman on the last in time e-mail, which
     25          A. Yeah.                                  25   is on top of the first page.


                                                                    36 (Pages 141 to 144)
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                                            Page 145                                             Page 146
      1             Do you see that?                        1        Q. Are you familiar with what a
      2        A. Yes.                                      2   REMS assessment is?
      3        Q. Do you see where he represents            3        A. This is outside my area of
      4    he is -- what company represents -- employs      4   expertise. I don't know the subject or these
      5    him? I'm sorry, let me withdraw that.            5   individuals.
      6             Do you see what company he              6        Q. Okay. You don't know any of
      7    represents employs him?                          7   these individuals --
      8        A. I see it in the signature.                8        A. I do not.
      9        Q. And it's Allergan PLC, correct?           9        Q. -- is that correct?
     10        A. That's what he has.                      10        A. No.
     11        Q. Okay. And you -- so your                 11        Q. Okay. You can put that aside.
     12    testimony is that Allergan PLC has no           12             (Allergan-Kaufhold Exhibit 18
     13    employees; is that correct?                     13        marked for identification.)
     14        A. That's correct.                          14   QUESTIONS BY MR. MELAMED:
     15        Q. Okay. Do you know which                  15        Q. I'm handing you what's been
     16    Allergan entity employs Dr. Trugman?            16   marked as Exhibit 18. Exhibit 18 is an
     17        A. I do not.                                17   e-mail and attachments.
     18        Q. And you see that generally --            18             The e-mail is from Wendy
     19    and I'm happy to give you a minute to review    19   Despain to Julienne Balcon, or Balcon, dated
     20    it.                                             20   August 4, 2015. The Bates number is
     21        A. Sure.                                    21   ALLERGAN_MDL_01334578.
     22        Q. But the e-mail written on                22             Attachment starts at
     23    June 29, 2015, from Dr. Trugman to Tara         23   ALLERGAN_MDL_01334579 and ends -- that is
     24    Brolly concerns opioid REMS assessments.        24   all -- all those pages are actually a single
     25        A. I see it here, yes.                      25   document. It's a spreadsheet that's been


                                            Page 147                                             Page 148
      1    pointed out.                                     1   QUESTIONS BY MR. MELAMED:
      2        A. Understood.                               2        Q. You don't know either way.
      3        Q. Printed out.                              3             As treasurer of -- let me
      4             Do you see the signature block          4   withdraw that.
      5    in Ms. Balcon's e-mail from August 4th --        5             You can put that aside.
      6        A. Yes.                                      6             (Allergan-Kaufhold Exhibit 19
      7        Q. -- at 1:03.                               7        marked for identification.)
      8             Do you see where she writes she         8   QUESTIONS BY MR. MELAMED:
      9    is employed?                                     9        Q. I'm going to hand you what's
     10        A. Yes.                                     10   been marked as Exhibit 19. It's an e-mail
     11        Q. And you see that's Allergan              11   string starting at ALLERGAN_MDL_01334588,
     12    PLC?                                            12   continuing to 589, the most recent in time
     13        A. No. It was Allergan, comma,              13   being an e-mail from Wendy Despain to Anna
     14    PLC, period.                                    14   Haripersaud on August 18, 2015.
     15        Q. Is Allergan, comma, PLC,                 15             Do you see Ms. Haripersaud's
     16    period, a different entity within the           16   e-mail signature in the middle of the first
     17    Allergan PLC family?                            17   page?
     18        A. I've never heard of this                 18        A. I do.
     19    entity.                                         19        Q. Do you see that she represents
     20        Q. Is it your -- do you have any            20   she works -- in her signature, she represents
     21    reason to believe this is anything but a typo   21   she works at Allergan PLC?
     22    and that she meant to write Allergan PLC?       22        A. That's what it shows.
     23             MS. LEVY: Objection.                   23        Q. And if you go to the e-mail
     24             THE WITNESS: I don't know.             24   first in time and then follow up, you -- the
     25                                                    25   second page, so those first two e-mails,


                                                                     37 (Pages 145 to 148)
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                                            Page 149                                             Page 150
      1    reflect an annual report on Kadian.              1       A. Plaza 5, yes.
      2              Do you see that?                       2       Q. Both look like they work on the
      3        A. I do.                                     3   19th floor, correct?
      4        Q. Okay. And then if you turn                4            One says "19th floor"; one says
      5    back to the first page, Wendy Despain asks       5   "Suite 1900"?
      6    for information about patient exposure --        6       A. It appears that.
      7    exposure data for morphine sulfate XR            7       Q. Okay. Do you see that -- does
      8    capsules, generic product?                       8   that provide any reason for you to change
      9        A. I see that.                               9   your assessment about whether Allergan,
     10        Q. And do you see that -- do you            10   comma, PLC, period, is a typo?
     11    understand that those capsules are generic      11       A. I mean, it's confusing to me
     12    opioids?                                        12   because in their e-mail addresses and the
     13        A. Other than referencing it to             13   website references it says "actavis.com."
     14    the list here, yes.                             14            (Allergan-Kaufhold Exhibit 20
     15        Q. You're aware?                            15       marked for identification.)
     16        A. Yes.                                     16   QUESTIONS BY MR. MELAMED:
     17        Q. Okay. And I just want to -- if           17       Q. Handing you what's been marked
     18    you pull back Exhibit 18 for a second and       18   as Exhibit 20.
     19    hold it next to 19, and you look at the         19       A. Thank you.
     20    signature files of Anna Haripersaud and         20       Q. Exhibit 20 is an e-mail string
     21    Julienne Balcon side by side, do you see they   21   starting at ALLERGAN_MDL_01489486, continuing
     22    work at the same address?                       22   through 9488. It is -- it says, "From daily
     23        A. They work at the same 185                23   inventory report," dated December 11, 2015.
     24    Hudson Street.                                  24            Do you see that?
     25        Q. Both in Plaza 5, correct?                25       A. I see that.


                                            Page 151                                             Page 152
      1         Q. Okay. Do you see that the                1         Q. What was he -- what was his
      2    signature on the second page from Ebenezer       2    role?
      3    Ankrah is from Allergan PLC?                     3         A. He possibly could have been
      4         A. I see that.                              4    director.
      5         Q. Do you see just above the                5         Q. Okay. So he was no longer the
      6    signature that it concerns at least -- that      6    CEO, but he was, I believe, actually
      7    this daily inventory report calls out            7    executive director of Allergan PLC.
      8    information as to at least one opioid            8              Does that sound --
      9    product, oxycodone HCL CR?                       9         A. That's correct.
     10         A. I see that.                             10         Q. Okay. And that would be
     11         Q. If you look at the "to" list,           11    reflected in the 10-K, correct?
     12    there -- and I'll -- on the first page, all     12         A. Correct.
     13    the addressees, they appear to be               13         Q. And then if you look down about
     14    alphabetical by last name.                      14    four-fifths of the way down the addressee
     15              Do you see Paul Bisaro on the         15    list, do you see Robert A. Stewart?
     16    fourth line?                                    16         A. Yes.
     17         A. I do.                                   17         Q. At that time, was Mr. Stewart
     18         Q. He was the CEO of Allergan PLC          18    an executive officer of Allergan PLC?
     19    at that time, correct?                          19         A. He was an executive off -- at
     20         A. CEO of -- December 15. He               20    2015, yes.
     21    was -- what did -- rephrase that, please?       21         Q. He was the chief operating
     22    What was the question?                          22    officer, correct?
     23         Q. Was he the CEO of Allergan PLC          23         A. Correct.
     24    at that time?                                   24              And just back on the signature,
     25         A. No.                                     25    since it did get cut off, if we look at the


                                                                     38 (Pages 149 to 152)
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                                           Page 153                                              Page 154
      1    top of the next page, again, it's the use of     1       A. (Witness complies.)
      2    an actavis.com e-mail address.                   2       Q. It's an e-mail from -- do you
      3         Q. Is it possible that the use of           3   see it's an e-mail from Jon Kamp to -- at The
      4    the actavis.com e-mail addresses that you've     4   Wall Street Journal from -- to Mark Marmur
      5    been referencing while simultaneously            5   and Frances DeSena?
      6    referencing employment at Allergan PLC is        6       A. Yes.
      7    because the name had changed around this         7       Q. And Jon Kamp writes with a
      8    time?                                            8   series of questions or statements that he
      9         A. I'm not sure when the name               9   wants -- wants information about from
     10    change took place. I would have thought the     10   Allergan.
     11    name change would have been a little bit        11             Do you see that?
     12    earlier in the year when we acquired            12       A. I need to read through it,
     13    Allergan.                                       13   but --
     14              (Allergan-Kaufhold Exhibit 21         14       Q. Sure.
     15         marked for identification.)                15       A. Okay. It seems like four
     16    QUESTIONS BY MR. MELAMED:                       16   questions.
     17         Q. I'm going to hand you what's            17       Q. Okay. And if you go up to the
     18    been marked Exhibit 21. It's an e-mail chain    18   bottom e-mail at the page -- at the -- I'm
     19    starting at ALLERGAN_MDL_0 -- I'm sorry,        19   sorry, the e-mail at the bottom of page 1,
     20    ALLERGAN_MDL_02024980, continuing               20   which is next in time, you'll see that it's
     21    through 4982, the most recent in time being     21   Mark Marmur sending something on to Michael
     22    from Lynne Bolduc to Michael Kuderka on         22   Kuderka, who was not on the initial e-mail
     23    September 30, 2016.                             23   from The Wall Street Journal reporter,
     24              I want you to turn to the             24   saying, "See below for responses. Let me
     25    first-in-time e-mail, which starts on page 2.   25   know if you have any comments or Norco


                                           Page 155                                              Page 156
      1    specific," and then some other information.      1        Q. What is his role at the
      2             Do you see that?                        2   company?
      3        A. Yes.                                      3        A. He's still part of corporate
      4        Q. So if you go back to the first            4   affairs. No longer works in Madison but is
      5    e-mail in time from Jon Kamp's e-mail?           5   overseas.
      6        A. Uh-huh.                                   6        Q. At this time, do you know what
      7        Q. It appears that Mr. Marmur's              7   his -- was he the director of corporate
      8    responses are below each of the bullet           8   affairs? Is that an accurate description of
      9    points.                                          9   what you understood his role to be?
     10        A. Yes.                                     10        A. Yes.
     11        Q. Correct?                                 11        Q. Who employed him? What -- what
     12        A. Yes.                                     12   organizational entity within the Allergan
     13        Q. Do you see where Mark Marmur's           13   family employed Mr. Marmur?
     14    signature file identifies his place of          14        A. I don't know that.
     15    employment? What he says is his place of        15        Q. And just to bring your
     16    employment?                                     16   attention to more e-mail address confusion,
     17        A. Yes.                                     17   you see in the second-to-last e-mail, near
     18        Q. And that's Allergan PLC,                 18   the top the first page, September 30, 2016,
     19    correct?                                        19   at 6:23, it says, "Kuderka_Michael," and then
     20        A. It says "Allergan PLC."                  20   it gives his e-mail address as an
     21        Q. And he was the director of               21   allergan.com e-mail address, wrote -- he
     22    corporate affairs, right?                       22   writes something, and then his signature
     23        A. By his title.                            23   says -- provides his e-mail address as
     24        Q. Do you know Mr. Marmur?                  24   actavis.com.
     25        A. I do know him.                           25            Do you see that?


                                                                     39 (Pages 153 to 156)
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                                           Page 157                                      Page 158
      1       A.     I see that.                           1        MR. MELAMED: So I want to
      2             But he also has Allergan, which        2   state for the record that counsel for
      3    I'm not sure which entity that is.              3   Allergan offered -- you know,
      4        Q. What is Allergan PLC's, excuse           4   encouraged us to take the time to
      5    me, website?                                    5   review the documents that were
      6        A. Would be allergan.com.                   6   provided this morning -- or at noon
      7             MR. MELAMED: Let's off the             7   when we started the deposition and ask
      8        record.                                     8   questions on them today in order to
      9             THE WITNESS: Sure.                     9   avoid fights later. I appreciate the
     10             VIDEOGRAPHER: Standby, please.        10   offer.
     11        Remove your microphones.                   11        I want to state that I'm not
     12             The time is 3:41 p m. Going           12   able to review and develop questions
     13        off the record.                            13   for those right now, and so we will
     14         (Off the record at 3:41 p.m.)             14   reserve our right to call you back in
     15             VIDEOGRAPHER: All right. We           15   the event that on review we want to
     16        are back on the record. The time is        16   ask further questions about.
     17        3:56 p m.                                  17        And I also want to state that
     18    QUESTIONS BY MR. MELAMED:                      18   though the three topics agreed on
     19        Q. Are you aware of an entity --           19   included testimony about all Allergan
     20    an Allergan entity named Allergan              20   entities' roles in connection with any
     21    Pharmaceuticals, Inc.?                         21   opioids from 1995 to present and all
     22        A. I am not.                               22   management of those opioids, that
     23        Q. Are you aware of an entity              23   Mr. Kaufhold was unable to answer a
     24    named Allergan Health Solutions, Inc.?         24   number of those questions. And we
     25        A. I am not.                               25   will reserve our right to seek

                                           Page 159                                      Page 160
      1        additional time for deposition of           1   clear.
      2        another 30(b)(6) witness or                 2        Today when we arrived at the
      3        Mr. Kaufhold at another time to answer      3   deposition, we came and provided
      4        those questions.                            4   counsel with a folder that is
      5             And I have no further                  5   Exhibit 3 in the deposition. That
      6        questions.                                  6   folder contains five documents, all
      7             MS. LEVY: Could the court              7   previously -- three of the documents
      8        reporter state the time for the record      8   previously produced in the case --
      9        and the time used in this deposition?       9   sorry, let me correct myself -- two
     10             VIDEOGRAPHER: So we've used up        10   documents previously produced in the
     11        3 hours and 9 minutes.                     11   case.
     12             MS. LEVY: Okay. I have a              12        The first are the schedules to
     13        question for you, Mr. Kaufhold.            13   the Teva MPA, which have been
     14             CROSS-EXAMINATION                     14   previously produced. The second is an
     15    QUESTIONS BY MS. LEVY:                         15   org chart which has been previously
     16        Q. To the best of your knowledge,          16   produced to counsel.
     17    does Allergan PLC have any documents related   17        Both documents Mr. Kaufhold
     18    to the manufacture, sale, marketing,           18   anticipated that he may need to rely
     19    promotion of opioids?                          19   on for his deposition and, therefore,
     20        A. It does not.                            20   brought them with him in case he was
     21             MS. LEVY: And in response to          21   asked questions that required him to
     22        counsel's comments both at the             22   consult on those two documents.
     23        beginning of the deposition and now,       23        The other three documents that
     24        let me make the following                  24   were provided in Exhibit 3 reflect
     25        representations so that our record is      25   notes that Mr. Kaufhold, along with


                                                               40 (Pages 157 to 160)
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                                        Page 161                                      Page 162
      1      counsel, in preparation for the           1    counsel, in order to more efficiently
      2      deposition, prepared in order to          2    illustrate the history of the
      3      assist him in testimony that we           3    corporate acquisitions and which a
      4      anticipated that you might ask, and in    4    great deal of testimony has been given
      5      preparing and finding the answers to      5    about today.
      6      the subtopics that we agreed would be     6          The two documents remaining in
      7      the subject of this deposition.           7    Exhibit 3 are his notes compiled
      8           Mr. Kaufhold took notes,             8    with -- reflecting his research and
      9      compiled things, found himself unable     9    all documents consulted in preparation
     10      to remember all of the corporate         10    of his responses to those documents,
     11      structure over the period of time that   11    and both have been provided.
     12      you had asked.                           12          We renew our -- so again, you
     13           We don't believe that we have       13    know, in hopes of just avoiding
     14      any obligation to provide these to       14    unnecessary fights down the road, no
     15      you. But, however, every deposition      15    documents were provided, unlike what
     16      I've ever been in when a witness comes   16    some of the plaintiffs have done in
     17      with notes and deposition aids,          17    this case, like dumping new documents
     18      opposing counsel has asked me to see a   18    during the deposition. This is not
     19      copy. So as a courtesy, we copied        19    that.
     20      them and provided them to you in order   20          The two documents you haven't
     21      to assist you in having what he had to   21    seen before are -- reflect the notes
     22      give testimony in the case.              22    of what he used as notes for himself.
     23           So the other three documents        23    We have provided them to avoid a fight
     24      are a flow chart which Mr. Kaufhold      24    on that.
     25      prepared, with assistance of his         25          And certainly if you'd like to

                                        Page 163                                      Page 164
      1      take time and read them further and       1    of the day yesterday and, you know --
      2      ask questions about it, given the         2    so it is what it is. The record is
      3      early hour today, we are more than        3    clear on what this Exhibit 3 is.
      4      happy to take a break and allow you to    4         And I don't have anything
      5      do that.                                  5    further.
      6           It's no secret to you or             6         MR. MELAMED: Does anybody in
      7      anybody in the room that if you choose    7    this room have any further questions?
      8      not to do that, we will object to         8         Does anybody, if anybody is
      9      taking more time with Mr. Kaufhold        9    left on the phone, have any further
     10      because we don't agree that you even     10    questions?
     11      really have the right to these and       11         We'll go off the record.
     12      that we've -- you know, we have bent     12         VIDEOGRAPHER: This marks the
     13      over backwards to make things easy and   13    end of today's deposition. The time
     14      efficient for you by providing them in   14    is 4:04 p m. Going off the record.
     15      the first place.                         15   (Deposition concluded at 4:04 p m.)
     16           MR. MELAMED: We can agree to        16         MR. JACOBS: Would we be able
     17      disagree on that, with the one note      17    to get a rough and the like the same
     18      that I asked repeatedly via e-mail       18    as Allergan?
     19      over the last week for the provision     19           –––––––
     20      of any materials that you had            20
     21      referenced he would be bringing.         21
     22           MS. LEVY: Sure.                     22
     23           And as you know, we were            23
     24      working with Mr. Kaufhold in preparing   24
     25      his summary right up through the end     25


                                                            41 (Pages 161 to 164)
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                                                          Page 165                                        Page 166
     1              CERTIFICATE                                       1         INSTRUCTIONS TO WITNESS
     2
     3            I, CARRIE A CAMPBELL, Registered                    2
          Diplomate Reporter, Certified Realtime
     4    Reporter and Certified Shorthand Reporter, do
                                                                      3           Please read your deposition over
          hereby certify that prior to the commencement               4   carefully and make any necessary corrections.
     5    of the examination, Stephan Kaufhold was duly
          sworn by me to testify to the truth, the                    5   You should state the reason in the
          whole truth and nothing but the truth
     6
     7            I DO FURTHER CERTIFY that the
                                                                      6   appropriate space on the errata sheet for any
          foregoing is a verbatim transcript of the                   7   corrections that are made.
     8    testimony as taken stenographically by and
          before me at the time, place and on the date                8           After doing so, please sign the
     9    hereinbefore set forth, to the best of my                   9   errata sheet and date it. You are signing
          ability
    10                                                               10   same subject to the changes you have noted on
                  I DO FURTHER CERTIFY that I am
    11    neither a relative nor employee nor attorney               11   the errata sheet, which will be attached to
          nor counsel of any of the parties to this                  12   your deposition.
    12    action, and that I am neither a relative nor
          employee of such attorney or counsel, and                  13           It is imperative that you return
    13    that I am not financially interested in the
          action                                                     14   the original errata sheet to the deposing
    14                                                               15   attorney within thirty (30) days of receipt
    15
    16                                                               16   of the deposition transcript by you. If you
             ____________________________
    17       CARRIE A CAMPBELL,
                                                                     17   fail to do so, the deposition transcript may
             NCRA Registered Diplomate Reporter                      18   be deemed to be accurate and may be used in
    18       Certified Realtime Reporter
             Notary Public                                           19   court.
    19                                                               20
    20                                                               21
    21                                                               22
                                                                     23
    22
    23       Dated: October 29, 2018                                 24
    24
    25                                                               25


                                                          Page 167                                        Page 168
      1             ACKNOWLEDGMENT OF DEPONENT                        1          –––––––
      2                                                                            ERRATA
      3                                                               2          –––––––
      4               I,______________________, do
                                                                      3   PAGE LINE CHANGE/REASON
             hereby certify that I have read the foregoing
      5      pages and that the same is a correct                     4   ____ ____ _____________________________
             transcription of the answers given by me to              5   ____ ____ _____________________________
      6      the questions therein propounded, except for             6   ____ ____ _____________________________
             the corrections or changes in form or                    7   ____ ____ _____________________________
      7      substance, if any, noted in the attached                 8   ____ ____ _____________________________
             Errata Sheet.                                            9   ____ ____ _____________________________
      8
      9                                                              10   ____ ____ _____________________________
     10                                                              11   ____ ____ _____________________________
     11                                                              12   ____ ____ _____________________________
     12      ________________________________________                13   ____ ____ _____________________________
             Stephan Kaufhold      DATE                              14   ____ ____ _____________________________
     13                                                              15   ____ ____ _____________________________
     14
     15      Subscribed and sworn to before me this
                                                                     16   ____ ____ _____________________________
     16      _______ day of _______________, 20 _____.               17   ____ ____ _____________________________
     17      My commission expires: _______________                  18   ____ ____ _____________________________
     18                                                              19   ____ ____ _____________________________
     19      Notary Public                                           20   ____ ____ _____________________________
     20                                                              21   ____ ____ _____________________________
     21
     22
                                                                     22   ____ ____ _____________________________
     23                                                              23   ____ ____ _____________________________
     24                                                              24   ____ ____ _____________________________
     25                                                              25


                                                                              42 (Pages 165 to 168)
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                                       Page 169
      1           –––––––
                  LAWYER'S NOTES
      2           –––––––
      3    PAGE LINE
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